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                         IN THE UNITED STATES DISTRICT COURT
                              FOR DISTRICT OF COLUMBIA


      O.M.G., et al.;                                        Case No. 1:20-cv00786-JEB
                          Petitioners,
                                                             NOTICE OF COVID-19 POSITIVE
      v.                                                     CASES

      Chad WOLF, Acting Secretary of the U.S.
      Department of Homeland Security, et al.,               The Honorable James E. Boasberg

                          Respondents.



            Pursuant to the June 25, 2020 minute order, Respondents hereby notify the Court that

     additional employees and new intakes in the Family Residential Center (“FRCs”) have tested

     positive for COVID-19, since the last notice. ECF No. 80. U.S. Immigration and Customs

     Enforcement informs the Department of Justice of the following:

            I. Karnes County Family Residential Center (“Karnes FRC”)

            New intake 1: New intake 1 arrived at Karnes on July 1, 2020, and was tested due to

     being a new arrival. New intake 1 was asymptomatic, but reported that two family members

     had previously tested positive. On July 7, 2020, New intake 1’s test returned positive on, but

     the spouse’s test was negative. New Intake 1 remains asymptomatic, but is being assessed for

     symptoms two times per day. New intake 1 is, and will remain, in quarantine for 14 days and

     is being monitored for symptoms twice per day.

            New intake 2: New intake 2 arrived at Karnes on July 1, 2020, and was tested due to

     being a new arrival. New intake 2 was asymptomatic, but reported that two family members

     had previously tested positive. On July 7, 2020, New intake 2’s test returned positive, but the

     test for the previously exposed family member returned negative. New intake 2 remains
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     asymptomatic, but is being assessed for symptoms two times per day. New intake 2 is and will

     remain in quarantine for 14 days and is being monitored for symptoms twice per day.

             New intake 3: New intake 3 arrived at Karnes on July 1, 2020, and was tested due to

     being a new arrival. New intake 3 was asymptomatic, but reported that two family members

     had previously tested positive. On July 7, 2020, New intake 3’s test returned positive but the

     test for their previously exposed family member returned negative. New intake 3 remains

     asymptomatic, but is being assessed for symptoms two times per day. New intake 3 is and will

     remain in quarantine for 14 days and is being monitored for symptoms twice per day. The

     other July 1, 2020 new intakes remain in quarantine.



             II. South Texas Family Residential Center (“Dilley FRC”)

             Employee 1: Employee 1 is a resident supervisor-recreation who was tested at an off-

     site facility on July 1, 2020, due to experiencing symptoms. Employee 1 received positive

     results on July 7, 2020. Employee 1 was last at Dilley FRC on June 30, 2020. Contact tracing

     through video surveillance and an interview is being conducted. Employee 1 is, and will

     remain, in quarantine for 14 days after the positive result.

             Employee 2: Employee 2 is a resident supervisor who was tested at an off-site facility

     on June 29, 2020, due to experiencing symptoms. The results came back negative. Employee

     2 was re-tested on July 1, 2020, and received positive results on the same day. This positive

     result was reported to HR on July 7, 2020. Employee 2 was last at Dilley FRC on June 29,

     2020. Video surveillance conducted for Employee 2 determined that in June 29, 2020,

     Employee 2 was in direct contact with other employees. However, during observation

     within camera range, during this contact, all involved employees wore masks and there was

     no kind of physical contact. All employees in contact with Employee 2 on June 29, 2020,
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     will be notified of potential exposure. Employee 2 was off-duty for the 48 hour period

     preceding the last date on site. Employee 2 is, and will remain, in quarantine for 14 days.



            Respondents will appraise the Court of any further developments as it receives them

     from ICE.



            RESPECTFULLY SUBMITTED this 9th day of July 2020.

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                        IN THE UNITED STATES DISTRICT COURT
                             FOR DISTRICT OF COLUMBIA


      O.M.G., et al.;                                      Case No. 1:20-cv00786-JEB
                          Petitioners,
                                                           NOTICE OF COVID-19 POSITIVE
      v.                                                   CASES

      Chad WOLF, Acting Secretary of the U.S.
      Department of Homeland Security, et al.,             The Honorable James E. Boasberg

                          Respondents.



            Pursuant to the June 25, 2020 minute order, Respondents hereby notify the Court that

     additional employees and new intakes in the Family Residential Center (“FRCs”) have tested

     positive for COVID-19, since the last notice. ECF No. 81. U.S. Immigration and Customs

     Enforcement (“ICE”) informs the Department of Justice of the following:

            I. Karnes County Family Residential Center (“Karnes FRC”)

            New intake 1: New intake 1 arrived at Karnes on July 8, 2020, and was tested due to

     being a new arrival. New intake 1 was asymptomatic. On July 11, 2020, New intake 1’s test

     returned positive. New Intake 1 remains asymptomatic, but is being assessed for symptoms

     two times per day. New intake 1 is, and will remain, in quarantine for 14 days and is being

     monitored for symptoms twice per day.

            New intake 2: New intake 2 arrived at Karnes on July 8, 2020, and was tested due to

     being a new arrival. New intake 2 was asymptomatic, but during the medical history and

     physical assessment, the Karnes medical provider noted an irregular respiration rate and

     rhythm. The medical provider ordered an EKG within three days and medicine for Intake 2’s

     complaints of gastric irritation. On July 1, 2020, New intake 2’s test returned positive. New

     intake 2 remains asymptomatic, but is being assessed for symptoms two times per day. New
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     intake 2 is and will remain in quarantine for 14 days and is being monitored for symptoms

     twice per day.

             II. South Texas Family Residential Center (“Dilley FRC”)

             Employee 1: Employee 1 is a resident supervisor-perimeter patrol, who tested at an off-

     site facility on July 6, 2020, after experiencing symptoms. On July 9, 2020, the results came

     back positive. Employee 1 was last at Dilley FRC on July 1, 2020. Contact tracing is being

     conducted via video surveillance review and interview with Employee 1. Employee 1 is and

     will remain in quarantine for 14 days from the date of the positive result.

             Employee 2: Employee 2 is a resident supervisor-relief, who tested at an off-site facility

     on June 29, 2020, as a prophylactic measure. On July 10, 2020, the test results came back

     positive. Employee 2 is asymptomatic. Contact tracing via video review is being conducted for

     the 48-hour period preceding their test date and for the period from their test date to their last

     date on site. Employee 2’s medical doctor has advised them to re-test on July 20, 2020.

     Employee 2 is and will remain in quarantine.

             Employee 3: Employee 3 is an administrative compliance officer, who has been

     working from home since March 28, 2020, because they were self-identified as a high-risk

     group. Employee 3 was tested at an off-site facility on July 6, 2020, after experiencing

     symptoms. On July 11, 2020, the results came back positive. Employee 3 is and will remain in

     quarantine. No contract tracing conducted because employee works exclusively from home.



             Respondents will appraise the Court of any further developments as it receives them

     from ICE.



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           RESPECTFULLY SUBMITTED this 12th day of July 2020.

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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                         )
      O.M.G., et al.,                                    )
                                                         )
                        Petitioners,                     )
                                                         )
              v.                                         )
                                                         ) Civil Action No. 1:20-cv-00786-JEB
      Chad WOLF, Acting Secretary of the U.S.            )
      Department of Homeland Security, et al.,           )
                                                         )
                        Respondents.                     )
                                                         )
                                                         )

      RESPONDENTS’ AMENDED OPPOSITION TO PETITIONERS’ JULY 2, 2020
                MOTION FOR PRELIMINARY INJUNCTION

            Respondents hereby submit this Amended Opposition to Petitioners’ July 2, 2020

     Motion for Preliminary Injunction to correct a scrivener’s error. Specifically, on page three,

     Respondents note that 34 new intakes at Karnes tested positive for COVID-19. The original

     filed version erroneously noted that “34 employees” had tested positive. This amended

     version corrects that error by replacing “employees” with “new intakes.”
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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                               )
   O.M.G., et al.,                             )
                                               )
                     Petitioners,              )
                                               )
          v.                                   )
                                               ) Civil Action No. 1:20-cv-00786-JEB
   Chad WOLF, Acting Secretary of the U.S.     )
   Department of Homeland Security, et al.,    )
                                               )
                     Respondents.              )
                                               )
                                               )



               AMENDED RESPONDENTS’ OPPOSITION TO PETITIONERS’
                JULY 2, 2020 MOTION FOR PRELIMINARY INJUNCTION
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                                          INTRODUCTION

         The Court should deny Petitioners’ Motion for Preliminary Injunction (“Pet. PI Mot.”)

  (ECF Nos. 78) requiring Respondents to promptly release Petitioners and all detainees in the

  Family Residential Centers known as Berks County Residential Center (Leesport, Pennsylvania);

  South Texas Family Residential Center (Dilley, Texas); and Karnes County Residential Center

  (Karnes City, Texas), (collectively, “FRCs”).

         First, Petitioners’ constitutional claims lack merit. Second, Petitioners do not have a

  cognizable injury, much less an irreparable one. Finally, the balance of equities and public

  interest tilt against granting a preliminary injunction. The Court should, thus, deny Petitioners’

  motion, and, sua sponte, sever Petitioners’ claims and transfer them to each FRC’s home forum.

                               UPDATED STATEMENT OF FACTS

         Respondents continue to implement the U.S. Centers for Disease Control (“CDC”)

  Interim Guidance on Management of Coronavirus 2019 in Correctional and Detention Facilities,

  available at https://www.cdc.gov/coronavirus/2019-ncov/community/correction-

  detention/guidance-correctional-detention.html, (“CDC Guidance”), and ICE Enforcement and

  Removal Operations COVID-19 Pandemic Response Requirements (“ ICE PRR”), available at

  https://www.ice.gov/sites/default/files/documents/Document/2020/eroCOVID19responseReqsCl

  eanFacilities.pdf, giving due consideration not only to individuals’ health, but also to the various

  Court orders related to those in ICE custody. 1 Respondents’ health and safety protocols include,

  but are not limited to, enhanced mitigation, screening, and testing; quarantining/cohorting;




  1
    Respondents incorporate by reference the detailed statement of facts and procedural history
  outlined in their pending motion to dismiss. ECF Nos. 58, 58-1. Respondents also incorporate by
  reference the information included in the numerous declarations provided throughout this
  litigation. See generally ECF Nos. 19-1, 39-1, 39-2, 39-3, 51-2, 51-3, 51-4, 51-5, 51-6, 56.
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  practicing social distancing; providing and using masks/face coverings; and continually

  educating residents regarding COVID-19.

         Berks Family Residential Center (BFRC or Berks), Leesport, Pennsylvania

         As outlined in the attached Declaration by Christopher George, an Assistant Field Office

  Director (“AFOD”) for the U.S. Department of Homeland Security (“DHS”), U.S. Immigration

  and Customs Enforcement (“ICE”), Enforcement and Removal Operations (“ERO”)’s

  Philadelphia Office (“George Decl.”) (Ex. 1), the BFRC continues to follow Pennsylvania, ICE,

  and CDC guidelines in its care of the BFRC residents. See also Ex. 4 - C.N., et al. v.

  Pennsylvania Dep’t of Human Servs., No. 268 M.D. 2020, July 7, 2020 Mem. Op. at 10-25, 27-

  28 (Pa. Commw. Ct.) (unpublished) (denying petitioners emergency motion seeking their

  removal from BFRC to avoid infection during the COVID-19 pandemic, and entering judgment

  in favor of respondents—detailing all the health and safety efforts the BFRC has implemented to

  mitigate the risk of residents being exposed to or contracting COVID-19).

         As of July 7, 2020, the BFRC housed five (5) families for a total of 16 residents. George

  Decl. ¶ 2. On June 22, 2020, four (4) of the families comprising 13 residents were tested for

  COVID-19 and the test results showed that zero (0) residents tested positive for COVID-19. Id. ¶

  19. The remaining family, consisting of three (3) residents, was admitted to Berks on July 7,

  2020 and was given a COVID-19 test on the same day. Id. ¶ 21. The results of the tests remain

  pending. Id. As of July 8, 2020, there have been no residents or staff at the BFRC who have

  tested positive for COVID-19. Id. ¶ 20.

         South Texas Family Residential Center (STFRC), Dilley, Texas

         As outlined in the attached Declaration by Richard Hunt, an AFOD for DHS-ICE-ERO’s

  San Antonio Office (“Hunt Decl.”) (Ex. 2 ¶ 2), as of July 7, 2020, STFRC has a total of 174



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  residents, 75 adults, and 99 juveniles. Of that population, 19 residents are new intakes, having

  spent nine days or less in custody. Id. Since June 4, 2020, all new intakes at STFRC are tested

  for COVID-19 during the initial intake process using LabCorp, SARS-CoV-2 testing. Id. ¶ 3.

         STFRC conducted saturation testing on June 23/24, 2020. Id. ¶ 9. All residents already at

  the facility tested negative for the COVID-19 virus. Id. Although 14 employees have tested

  positive for the COVID-19 virus 2 to date, STFRC has zero (0) COVID-19 cases among the

  resident population due to the thorough and cautious actions taken to prevent and protect

  residents and staff from possible COVID-19 spread at the facility. Id.; ECF Nos. 73, 75, 79, 80,

  81.

         Karnes County Family Residential Center (KCFRC), Karnes City, Texas

         As outlined in the attached Declaration by Anthony Hofbauer, an AFOD for DHS-ICE-

  ERO’s San Antonio Office (“Hofbauer Decl.”) (Ex. 3 ¶ 2), as of July 7, 2020, KCFRC has a total

  of 129 residents, comprised of 71 adults and 58 juveniles. As of July 7, 2020, only new arrivals

  to the facility have tested positive, and all of the new arrival intakes have been isolated and

  cohorted since their arrival. Id. ¶ 5. Specifically, 34 new intakes have tested positive for COVID-

  19 during their first 14-day quarantine period while under cohort status. Id. Although 34 new

  intakes at KCFRC have tested positive for COVID-19 virus, no families in the general

  population have tested positive. Id. Comprehensive protocols are in place for the protection of

  staff and patients, including but not limited to, the issuance of and appropriate use of personal



  2
    On June 25, 2020, the Court ordered Respondents to file notices within 48 hours of any new
  positive COVID-19 test results for any employees or residents at the FRCs. Respondents have
  since been filing periodic notices in response to the June 25, 2020 Minute Order. Nonetheless,
  there may be a discrepancy in the numbers reported through notices and the numbers reported in
  this memorandum because the numbers reported here include positive cases recorded prior to the
  June 25, 2020 order. Three of the positive employee cases at Dilley occurred prior to the June 25,
  2020, reporting requirement was instituted by this Court.
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  protective equipment in accordance with CDC guidance; limited movement, hand sanitizing

  stations, and educational materials posted throughout in both English and Spanish. Id. ¶¶ 3, 12;

  ECF Nos. 70, 73, 75, 77, 79, 80, 81.

                       LEGAL STANDARD FOR PRELIMINARY INJUNCTIONS

          “‘A preliminary injunction is an extraordinary remedy never awarded as of right,’ but

  ‘only when the party seeking the relief, by a clear showing, carries the burden of persuasion[.]’”

  Cal. Ass’n of Private Postsecondary Sch. v. DeVos, 344 F. Supp. 3d 158, 166 (D.D.C. 2018)

  (Moss, J.) (denying motion for preliminary injunction) (quoting Winter v. Natural Res. Def.

  Council, 555 U.S. 7, 24 (2008), and Cobell v. Norton, 391 F.3d 251, 258 (D.C. Cir. 2004));

  Hospitality Staffing Solutions, LLC v. Reyes, 736 F. Supp. 2d 192, 197 (D. D.C. 2010) (The

  moving party bears the burden to demonstrate, by a clear showing, that the requested relief is

  warranted).

          “To secure a preliminary injunction, a plaintiff ‘must establish [1] that he is likely to

  succeed on the merits, [2] that he is likely to suffer irreparable harm in the absence of

  preliminary relief, [3] that the balance of equities tips in his favor, and [4] that an injunction is in

  the public interest.’” Cal. Ass’n, 344 F. Supp. 3d at 166 (quoting Winter, 555 U.S. at 20); League

  of Women Voters of the U.S. v. Newby, 838 F.3d 1, 6 (D.C. Cir. 2016). “Of these factors,

  likelihood of success on the merits and irreparable harm are particularly crucial.” Aracely R. v.

  Nielsen, 319 F. Supp. 3d 110, 125 (D.D.C. 2018) (Contreras, J.) (denying, in part, preliminary

  injunction). 3


  3
    “Before the Supreme Court’s decision in Winter, courts weighed these factors on a ‘sliding
  scale,’ allowing ‘an unusually strong showing on one of the factors’ to overcome a weaker
  showing on another.” Damus v. Nielsen, 313 F. Supp. 3d 317, 326 (D.D.C. 2018) (quoting Davis
  v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1291-92, 387 U.S. App. D.C. 205 (D.C. Cir.
  2009)). The D.C. Circuit has expressly declined to address the viability of the “sliding scale”
  approach post-Winter. See Davis, 571 F.3d at 1292 (stating that “[w]e need not decide whether”
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          “The power to issue a preliminary injunction . . . should be sparingly exercised.” Mott

  Thoroughbred Stables, Inc. v. Rodriguez, 87 F. Supp. 3d 237, 243 (D.D.C. 2015) (Walton, J.)

  (denying preliminary injunction) (quoting Dorfmann v. Boozer, 414 F.2d 1168, 1173 (D.C. Cir.

  1969)). Moreover, “a party seeking a preliminary injunction must clear two, non-negotiable

  hurdles[,]” namely (i) establish that the Court has subject matter jurisdiction over the plaintiff’s

  claims, and (ii) demonstrate that the party will “likely” suffer irreparable harm if the injunction is

  not entered—“a mere ‘possibility’ of harm will not suffice.” Cal Ass’n, 344 F. Supp. 3d at 167

  (collecting citations). A movant alleging “speculative injuries” cannot meet the “‘high standard

  for irreparable injury’ sufficient to warrant the extraordinary relief of a TRO,” and “the Court

  need not reach the other factors relevant to the issue of injunctive relief.” United Farm Workers

  v. Chao, 593 F. Supp. 2d 166, 171 (D.D.C. 2009) (quoting Chaplaincy of Full Gospel Churches

  v. England, 454 F.3d 290, 297 (D.C. Cir. 2006); see Bartko v. Dep’t of Justice, Civ. A. No. 13-

  1135, 2015 WL 13673371, at *2 (D.D.C. Mar. 12, 2015) (“[t]he Court need not grant injunctive

  relief ‘against something merely feared as liable to occur at some indefinite time’”) (quoting

  Wisc. Gas Co. v. FERC, 758 F.2d 669, 674 (D.C. Cir. 1985)). And where a party seeks to change

  the status quo through action rather than merely to preserve the status quo—typically the moving

  party must meet an even higher standard than in the ordinary case: the movant must show

  ‘clearly’ that [it] is entitled to relief or that extreme or very serious damage will result.” Farris v.

  Rice, 453 F. Supp. 2d 76, 78 (D.D.C. 2006) (citing authorities). As demonstrated below,



  that approach is still viable “because the [movants] fail even under the ‘sliding scale’ analysis”).
  Other courts have found that Winter prohibits use of the “sliding scale” approach. See, e.g., Am.
  Trucking Ass’n v. City of Los Angeles, 559 F.3d 1046, 1052 (9th Cir. 2009); Daily Caller v. U.S.
  Dep’t of State, 152 F. Supp. 3d 1, 5–6 (D.D.C. 2015); see also Singh v. McConville, 187 F. Supp.
  3d 152, 160 (D.D.C. 2016); also see United States v. Bolton, No. 1:20-CV-1580 (RCL), 2020
  WL 3401940, at *3 (D.D.C. June 20, 2020) (holding that a movant must “meet four independent
  requirements” to obtain injunctive relief).
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  Petitioners cannot show a likelihood of success on the merits, and Petitioners have been unable

  to establish a likelihood of irreparable harm. As such, Petitioners’ request for a preliminary

  injunction should be denied.

                                             ARGUMENT

  I.     PETITIONERS HAVE FAILED TO DEMONSTRATE A LIKELIHOOD OF
         SUCCESS ON THE MERITS OF THEIR CLAIMS

         Petitioners’ constitutional claims are unlikely to succeed on the merits. Petitioners’ true

  claim is that any confinement of families at the FRCs during the COVID-19 pandemic violates

  the Constitution. Petitioners in effect invite the Court to recognize a due process right to

  immediate, discretionary release during this pandemic. Petitioners have no such due process

  right. Moreover, Petitioners have not met their burden to show that their confinement amounts to

  punishment, and their analysis conspicuously fails to address the Government’s legitimate non-

  punitive objective in immigration detention. Furthermore, Petitioners have not established that

  Respondents have acted with deliberate indifference because the record demonstrates that ICE

  has implemented measures to mitigate the spread of COVID-19. For all these reasons, Petitioners

  are unable to demonstrate a likelihood of success on the merits, and their request for preliminary

  injunctive relief should be denied.

         A.      Petitioners Have Not Established a Fifth Amendment Due Process Violation

                 1.      Petitioners have not established that their conditions of confinement
                         amount to punishment under Bell v. Wolfish.

         Due process under the Fifth Amendment “requires that a pretrial detainee not be

  punished.” Bell v. Wolfish, 441 U.S. 520, 535 n.16 (1979). “In evaluating the constitutionality of

  conditions or restrictions of pretrial detention . . . the proper inquiry is whether those conditions

  amount to punishment of the detainee.” Id. at 535. To establish that their detention conditions

  amount to “punishment” in violation of the Fifth Amendment, Petitioners must show that the

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  particular condition is either: (1) “imposed for the purpose of punishment” or intended to punish;

  or (2) the “condition is not reasonably related to a legitimate goal-if it is arbitrary or

  purposeless.” Id. at 538-39 (“Thus, if a particular condition or restriction of pretrial detention is

  reasonably related to a legitimate governmental objective, it does not, without more, amount to

  ‘punishment.’”).

          However, Petitioners do not allege that Respondents are subjecting them to conditions

  with a “purpose” or “intent” to punish. Nor could Petitioners make any such allegation, as their

  detention is clearly authorized by statute and serves a non-punitive governmental objective that

  the Supreme Court has repeatedly recognized as legitimate. See Section I.A.2., infra. Instead,

  Petitioners appear to argue that Respondents are subjecting them to “unsafe conditions” that

  amount to “cruel and unusual punishment.” Pet. PI Memo at 15. Petitioners contend that their

  confinement during a global pandemic is “unsafe and punitive in violation of [their] Fifth

  Amendment rights” because of the “danger of contracting a dangerous and often deadly disease.”

  Id. at 7-8. Most notably, Petitioners allege “inconsistent use of personal protective equipment” at

  the FRCs and claim that some areas within the facilities “do not permit adequate social

  distancing.” Id. at 17-18.

          Indeed, Petitioners’ motion concedes that they are essentially asking this Court to hold

  that detaining any individual during an outbreak of a contagious illness is necessarily

  unconstitutional. Id. at 16-17 (“Petitioners’ core contentions [are] that even good compliance

  with CDC guidance will not likely be sufficient to fully protect minors and their families from

  Covid-19 while in ICE detention and that ICE facilities convey an inherently greater risk of

  COVID-19 than most settings.”) (internal marks omitted). But numerous courts have wisely

  rejected this extreme and legally unsupported position. See C.G.B. v. Wolf, No. 20-cv-1072



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  (CRC), 2020 WL 2935111 *22, 28 (D.D.C. June 2, 2020) (denying TRO request seeking release

  of all detainee-petitioners—“the most intrusive measure”); Coreas v. Bounds, Civ. A. 20-0780,

  2020 WL 1663133, at *12 (D. Md. Apr. 3, 2020) (denying TRO and noting that the “Court is not

  presently prepared to adopt this position”); Dawson v. Asher, Civ. A. No. 20-0409, 2020 WL

  1304557, at *2 (W.D. Wash. Mar. 19, 2020) (denying TRO in part because “Plaintiffs do not cite

  to authority, and the court is aware of none, under which the fact of detention itself becomes an

  ‘excessive’ condition solely due to the risk of communicable disease outbreak—even one as

  serious as COVID-19.”); Buleishvili v. Hoover, Civ. A. No. 20-607, 2020 WL 1911507, at *6

  (M.D. Pa. Apr. 20, 2020) (denying habeas petition and stating that “there is no perfect solution

  for preventing the spread of COVID-19 virus in detention facilities”); Toure v. Hott, Civ. A. No.

  20-395, 2020 WL 2092639 (E.D. Va. Apr. 29, 2020) (holding that even in this pandemic

  “continued detention may validly be attributed to the Government’s legitimate nonpunitive

  objective”).

         Similarly, courts have reasoned that even to the extent that some aspects of detention

  necessarily increase the risk of exposure to contagious diseases, “the Constitution does not

  require that detention facilities reduce the risk of harm to zero.” C.G.B. v. Wolf, 2020 WL

  2935111, at *23 (quoting Benavides v. Gartland, No. 20-46, 2020 WL 1914916, at *5 (S.D. Ga.

  Apr. 18, 2020) (denying TRO and rejecting petitioners’ claims that an outbreak of COVID-19 at

  the facility is imminent . . .”). And specifically, “under the Fifth Amendment, Respondents are

  not required to eliminate any risk to Petitioners.” Dawson v. Asher, 2020 WL 1704324, at *12

  (W.D. Wash. Apr. 8, 2020) (emphasis added) (denying TRO seeking immediate release from

  immigration detention in light of COVID-19); C.G.B., 2020 WL 2935111, at *25 (finding that

  even several alleged violations of the ICE PRR “are concerning, but nevertheless are unlikely to



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  establish unconstitutional conditions of confinement.”); N.Z.M. v. Wolf, Case No. 5:20-CV-24

  (S.D. Tex. Apr. 9, 2020) (holding that the “Court cannot grant extraordinary relief based on

  generic concerns that apply to every detainee in federal custody.”). Indeed, even Petitioners’

  requested form of relief—immediate release from the FRCs—would fail to meet this standard, as

  Petitioners would still be at risk of contracting COVID-19 while among the public at large. As

  Petitioners accurately acknowledge, millions of people across the United States have contracted

  COVID-19 and thousands more continue to do so every day. Pet. PI Memo at 10. Put simply,

  “this Court cannot put an end to the COVID-19 pandemic.” Id. at 22. Therefore, Petitioners’

  contention that Respondents have not eliminated the risk of contracting COVID-19 in the FRCs

  because “consistent social distancing is not possible” and “masking is at best intermittent” does

  not rise to the level of punishment required to establish a violation of the Fifth Amendment.

         Moreover, the “record is replete with evidence” of measures taken by Respondents to

  reduce the COVID-19 risk at the FRCs, including dramatic reductions in the population of each

  facility. See Toure, 2020 WL 2092639 (denying TRO and citing Virginia detention facilities’

  steps to prevent virus spread and improve capacity to treat it); Brown v. DHS, Case No. 3:20-cv-

  0119 (M.D. Pa. Apr. 20, 2020) (denying release where ICE has implemented similar sanitation

  and CDC-compliant protocols as in this case). As summarized above and detailed in the

  declarations that Respondents have filed previously, the FRCs have implemented a long list of

  actions to mitigate the risk of COVID-19 transmission. See generally ECF Nos. 19-1, 39-1, 39-2,

  39-3, 51-2, 51-3, 51-4, 51-5, 51-6, 56; Ex. 1 – George Decl.; Ex. 2 – Hunt Decl.; Ex. 3 –

  Hofbauer Decl. Specifically, facilities have increased sanitation and disinfecting of housing and

  common spaces. ECF Nos. 39-2 ¶¶ 17, 40; 39-3 ¶¶ i, k; 51-2 ¶ 7; 51-3 ¶ 35. They have also

  distributed face masks to all residents and facility staff. ECF Nos. 51-2 ¶¶ 15-17, 23; 51-3 ¶ 9;



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  Hunt Decl. ¶ 8; George Decl. ¶¶ 43-47. Facilities have educated residents on COVID-19, the use

  of face masks, and general virus precautions through posters, flyers, and personal presentations.

  ECF Nos. 39-2 ¶¶ 17, 18, 40, 41; 39-3 ¶ 17; 51-2; Hunt Decl. ¶ 8. Furthermore, in addition to

  reducing the number of residents at each facility to allow for more spacing in housing units and

  at mealtimes, the facilities have re-arranged dining halls or implemented satellite feeding to

  promote social distancing and reduce congestion in common areas. ECF Nos. 39-2 ¶¶ 25, 49; 39-

  3 ¶¶ 6, 17; 51-3 ¶¶ 27-29. The facilities have also limited and controlled access to common areas

  like the library, gymnasium, or chapel. ECF Nos. 39-2 ¶ 25, 49; 39-3 ¶ 25. To further promote

  distancing and to minimize the risk of viral transmission, the facilities have also suspended in-

  person social visitation, facility tours, and non-essential civilian access. ECF Nos. 39-2 ¶¶ 19,

  23; 39-3 ¶ 17.

         Moreover, each FRC has implemented policies to thoroughly test residents for the

  COVID-19 virus. Since June 4, 2020, all new intakes at Berks and Dilley are tested for COVID-

  19 during the initial intake process. Hunt Decl. ¶ 3; George Decl. ¶ 29. All new intakes at Karnes

  are also tested during the intake process. Hofbauer Decl. ¶ 5.c. On June 22, 2020, all individuals

  housed at Berks on that date were tested for COVID-19, and zero residents tested positive for

  COVID-19. George Decl. ¶ 19. On June 23 and 24, 2020, Dilley conducted testing of all

  residents already at the facility, all of whom tested negative for COVID-19. Hunt Decl. ¶ 9. As

  of July 7, 2020, 34 residents at Karnes have tested positive for COVID-19, all of whom were

  new intakes who tested positive during their first 14-day quarantine period. Hofbauer Decl. ¶ 5.a.

  No residents in the general population at Karnes have tested positive. Id. ¶ 5.c.

         Notably, Petitioners’ allegations generally do not dispute that the FRCs have taken the

  precautions referenced above. Instead, Petitioners assert that these measures are not fully



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  effective or that compliance with these measures is not always perfect. See Pet. PI Memo at 16-

  19 (asserting, inter alia, that not all areas of the FRCs allow for sufficient distancing, that

  residents are provided face masks but are not given new masks often enough, and generally

  alleging “inconsistent implementation”). But the fact that these efforts are imperfect does not

  convert reasonable precautions to mitigate the risk of COVID-19 into a violation of Petitioners’

  due process rights. Simply stated, none of Petitioners’ statements describe conditions that

  “amount to punishment” or are “excessive” in relation to the legitimate objective of immigration

  detention.

                  2.      Petitioners omit from their analysis any discussion of the legitimate
                          governmental objective in securing their removal.

          As explained above, Petitioners have not demonstrated a likelihood of success on the

  merits of their due process claim because they have failed to show that their detention

  “amount[s] to punishment.” Wolfish, 441 U.S. at 535. Absent a “showing of an expressed intent

  to punish on the part of detention facility officials, that determination generally will turn on

  whether an alternative purpose to which [the restriction] may rationally be connected is

  assignable for it, and whether it appears excessive in relation to the alternative purpose [to

  it].” Id. at 538. “Thus, if a particular condition or restriction of pretrial detention is reasonably

  related to a legitimate governmental objective, it does not, without more, amount to

  punishment.” Id. at 539. The “substantive due process protections afforded by Bell v. Wolfish and

  its progeny against punishment contemplate that a legitimate government interest may require

  additional restrictions on pretrial detainees.” Jones v. Horne, 634 F.3d 588, 598 (D.C. Cir. 2011).

          The Supreme Court has long recognized that “detention is necessarily a part of the

  deportation procedure.” Carlson v. Landon, 342 U.S. 524 (1952). The laws authorizing

  immigration officials to arrest aliens subject to removal and to detain them for removal


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  proceedings, and subsequently for removal, have been in place for over a century. See Abel v.

  United States, 362 U.S. 217, 232-37 (1960). Indeed, the Supreme Court has affirmed that

  “detention during deportation proceedings is a constitutionally valid aspect of the deportation

  process,” and reasoned that removal proceedings “would be in vain if those accused could not be

  held in custody pending the inquiry into their true character.” See generally Jennings v.

  Rodriguez, 138 S. Ct. 830 (2018); Demore v. Kim, 538 U.S. 510, 523 (2003) (quoting Wong

  Wing v. United States, 163 U.S. 228, 235 (1896)); Blackie’s House of Beef, Inc. v. Castillo, 659

  F.2d 1211, 1221 (D.C. Cir. 1981) (“The Supreme Court has recognized that the public interest in

  enforcement of the immigration laws is significant.”); see also Nken v. Holder, 556 U.S. 418,

  435 (2009) (“There is always a public interest in prompt execution of removal orders: The

  continued presence of an alien lawfully deemed removable undermines the [statutory scheme

  enacted by Congress], and permit[s] and prolong[s] a continuing violation of United States law.”

  (internal marks omitted)).

         Petitioners’ strategy to omit any discussion of the Government’s legitimate objective in

  detaining them does not eliminate its existence. Indisputably, Respondents have a lawfully

  recognized substantial interest in enforcing immigration law, protecting the community

  (including, sometimes, protecting immigration detainees from themselves) and preventing them

  from absconding. Demore, 538 U.S. at 515. Accordingly, Petitioners have not shown that their

  detention, or any of the conditions they assail, amount to punishment. See Dawson, 2020 WL

  1304557, at *2 (“[P]reventing aliens from absconding and ensuring that they appear for removal

  proceedings is a legitimate governmental objective . . . Plaintiffs’ current confinement does not

  appear excessive in relation to that objective.”).




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                  3.      Petitioners have not established that Respondents have acted with
                          deliberate indifference.

          In this Circuit, both the Eight Amendment and the Fifth Amendment apply to the

  conditions of confinement. The rights guaranteed by the Eight Amendment to convicted

  prisoners subject to penal incarceration also apply under the Fifth Amendment to non-penal

  incarceration or confinement, including pre-trial and civil detainees. Hardy v. District of

  Columbia, 601 F. Supp. 2d 182 (D.C. Cir. 2009); United States v. Riggins, Case No. CR-20-10

  (CKK) 2020 WL 19844263 (D.D.C. Apr. 27, 2020); Reynolds v. Wagner, 128 F.3d 166, 173,

  188 (3d Cir. 1997). The difference between the two is that the Eight Amendment prevents “cruel

  and unusual punishment,” whereas “a pretrial detainee, not yet found guilty of any crime, may

  not be subjected to punishment of any description.” Hardy, 601 F. Supp. 2d at 188; Riggins,

  2020 WL 19844263, at *3. “Because a pretrial detainee’s rights under the Fifth Amendment are

  at least as great as those afforded to a convicted prisoner under the Eighth Amendment, applying

  the Eighth Amendment “‘deliberate indifference’ standard to measure whether the plaintiffs have

  alleged a violation of their clearly established Fifth Amendment rights is appropriate.” Id. at 189;

  but see C.G.B., 2020 WL 2935111, at *22 n.31 (noting that while the D.C. Circuit has not

  addressed the issue, “many circuit courts have extended [an “objectively unreasonable” standard]

  to apply to . . . due process claims by pre-trial detainees.”). 4



  4
    Respondents acknowledge that other judges in this district have concluded that the objective
  reasonableness standard from Kingsley v. Hendrickson, 576 U.S. 389 (2015) applies in this
  context. See C.G.B., 2020 WL 2935111, at, *22; Banks v. Booth, No. CV 20-cv-849 (CKK) 2020
  WL 1914896, at *6 (D.D.C. Apr. 19, 2020) (holding a civil detainee “need only show that prison
  conditions are objectively unreasonable in order to state a claim under the due process clause”).
  However, the D.C. Circuit has not addressed this issue and therefore Respondents maintain that
  the proper standard for civil conditions-of-confinement claims is the subjective “deliberate
  indifference” standard articulated by the Supreme Court in Wolfish. Moreover, Petitioners cannot
  demonstrate a likelihood of success even under Kingsley’s objective standard. See Section I.A.4,
  infra.
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         The deliberate indifference standard is not easily surmountable, as even malpractice does

  not rise to deliberate indifference—“deliberate indifference describes a state of mind more

  blameworthy than negligence.” Farmer v. Brennan, 511 U.S. 825, 835 (1994). As it relates to

  medical services, this Circuit has noted that “courts will not intervene upon allegations of mere

  negligence, mistake or difference of opinion.” O.K. v. Bush, 344 F. Supp. 2d 44, 61 (D.D.C.

  2004) (Bates, J.) (citing Bowring v. Godwin, 551 F.2d 44, 48 (4th Cir. 1977)). Absent a showing

  of misconduct that rises to the level of deliberate indifference, courts will not sit as boards of

  review over the medical decisions of prison officials, and they will not second-guess the

  adequacy of a particular course of treatment. Bowring, 551 F.2d at 48.

         Petitioners do not explain how their factual allegations rise to the deliberate indifference

  necessary to sustain a conditions-of-confinement claim under the Fifth Amendment Due Process

  Clause. Instead, they incorrectly assert that an analysis under the Fifth Amendment requires a

  lesser objective standard of “reasonable safety” rather than the subjective “deliberate

  indifference” standard. See Pet. PI Memo at 14. Respondents fully acknowledge that “‘when the

  State takes a person into its custody and holds him there against his will, the Constitution

  imposes upon it a corresponding duty to assume some responsibility for his safety and general

  well-being.’” Dawson, 2020 WL 1704324, at *10 (quoting DeShaney v. Winnebago Cty. Dep’t of

  Soc. Servs., 489 U.S. 189, 199-200 (1989)). However, Respondents reiterate that when

  evaluating the constitutionality of pretrial detention conditions under the Fifth Amendment, “the

  proper inquiry is whether those conditions amount to punishment of the detainee.” Wolfish, 441

  U.S. at 535; see also Dawson, 2020 WL 1704324, at *10. Punishment may be shown through

  express intent or a restriction or condition that is not “reasonably related to a legitimate

  governmental objective.” Bell, 441 U.S. at 539. As discussed above, the Supreme Court has long



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  recognized that preventing detainees from absconding and ensuring that they appear for removal

  proceedings are legitimate, non-punitive governmental objectives. See Jennings, 138 S. Ct. at

  836.

         Petitioners have failed to allege facts sufficient to show that ICE has acted with deliberate

  indifference or with intent to punish. The allegations in Petitioners’ motion broadly fall into three

  categories that do little, if anything, to show that the conditions at the FRCs violate the

  constitution. See Pet. PI Memo at 17-18. First, Petitioners allege that some areas of the FRCs “do

  not permit adequate social distancing” and that some children are “too young” to understand how

  to practice social distancing. Id. at 17. Second, Petitioners allege that use of personal protective

  equipment is “inconsistent” and that residents “are being provided new masks less than once a

  week.” Id. at 17-18. Third, Petitioners allege “deficient medical care” generally, and reference a

  recent non-COVID-related viral outbreak at Berks and “inconsistent quarantine instructions” by

  FRC staff. Id. at 18. 5 But even assuming that all of Petitioners’ allegations are true—and

  Respondents’ declarations dispute many of them, see generally ECF Nos. 19-1, 39-1, 39-2, 39-3,

  51-2, 51-3, 51-4, 51-5, 51-6, 56; Hunt Decl.; George Decl.; Hofbauer Decl.—they still do not

  support a reasonable inference that the conditions amount to punishment or result from deliberate

  indifference. In fact, Petitioners’ allegations mostly serve to demonstrate that ICE has imposed

  numerous preventative measures within the FRCs. The fact that these efforts are not perfect and

  cannot completely eliminate the health risk posed by COVID-19 does not constitute “deliberate




  5
    Petitioners also repeatedly reference the Flores court’s recent finding that the conditions for
  children violate their contractual rights under the FSA. Pet. PI Memo at 8, 13-17, 20-24. But that
  is a separate question entirely from whether the conditions for adults violate the Constitution
  because they are punitive and result from deliberate indifference. See Section I.A.1, supra.
  Petitioners cannot simply cite to the Flores court’s findings to show that the conditions for adults
  are unconstitutional.
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  indifference” and does not convert Respondents’ reasonable efforts to mitigate risk into a

  constitutional violation. Accordingly, Petitioners’ allegations simply cannot sustain a valid

  conditions-of-confinement claim, much less demonstrate a likelihood of success on the merits of

  that claim.

          Where a pandemic, such as this one, poses a threat to everyone without discrimination,

  Petitioners do not gain a right of release by merely citing to the pandemic. See also Carroll v.

  DeTella, 255 F.3d 470, 472 (7th Cir. 2001) (“Many Americans live under conditions of exposure

  to various contaminants. The [Constitution] does not require prisons to provide prisoners with

  more salubrious air, healthier food, or cleaner water than are enjoyed by substantial numbers of

  free Americans.”). In short, there is no precedent for the suggestion that if the government cannot

  guarantee a clean bill of health for those in custody, then it cannot maintain custody at all.

  Indeed, the very existence of a “deliberate indifference” standard demonstrates the Supreme

  Court’s understanding and acceptance of the fact that the detention setting carries a degree of

  inherent and legally permissible risk, even in non-penal confinement. The Supreme Court

  expressly held as much in Wolfish, stating that due process permits civil and pre-trial detainees to

  be exposed to “inherent incidents of confinement.” Wolfish, 441 U.S. at 537; see also Farmer,

  511 U.S. at 834 (“not . . . every injury suffered by one prisoner . . . translates into constitutional

  liability for prison officials responsible for the victim’s safety.”); Sacal-Micha v. Longoria, Civ.

  A. No. 20-37, 2020 WL 1815691, at *7-8 (S.D. Tex. Apr. 9, 2020) (“the record reflects that ICE

  has provided constant medical attention to Sacal, and has implemented preventative measures to

  reduce the risk of Sacal contracting COVID-19. Those measures may ultimately prove

  insufficient. But the implementation of those measures preclude a finding that ICE has refused to

  care for Sacal or otherwise exhibited wanton disregard for his serious medical needs.”).



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         Based on the record before the Court, Petitioners are unlikely to succeed in establishing

  that the conditions of Petitioners’ confinement amount to a violation of the Fifth Amendment.

  Accordingly, this Court should decline to grant a preliminary injunction on this basis.

                 4.      Regardless of which standard applies, adequate preventative measures
                         satisfy constitutional requirements in the COVID-19 context.

         Under either the subjective “deliberate indifference” standard from Wolfish, or the

  objective “reasonableness” standard from Kingsley, Petitioners cannot show a likelihood of

  success on the merits because the record demonstrates that ICE has implemented numerous

  measures to mitigate the risk of COVID-19 within the FRCs. Because due process requires the

  government to ensure the reasonable safety of inmates, see Deshaney, 489 U.S. at 199, when

  facilities have implemented preventative measures that courts have deemed sufficient to reduce

  an inmate’s risk of contracting diseases such as COVID-19, courts have found that these actions

  satisfy constitutional requirements. See, e.g., C.G.B., 2020 WL 2935111, at *24 (“The Court is

  convinced that ICE’s capacity reductions and substantial compliance with the [ICE] PRR would

  suffice to provide most people in civil immigration detention—certainly young and healthy

  ones—with at least a reasonable degree of safety.”); Gomes v. DHS, No. 20-cv-453-LM, Dkt.

  No. 218, Order, at 7, 19-20 (D.N.H. July 1, 2020) (finding that, under either the subjective

  “deliberate indifference” standard or an objective unreasonableness standard, detainees had not

  shown a likelihood of success on their Due Process claims where the facility had adopted many

  measures to reduce the risk of COVID-19, even though those measures were imperfect);

  Aslanturk v. Hott, No. 20-cv-433-RDA-JFA, Dkt. No. 12, Order, at 20-22 (E.D. Va. May 8,

  2020) (attached as Ex. 5) (denying request for release by 69-year-old diabetic detainee at a

  facility where COVID-19 was present, where facility was operating at 60% capacity and had

  taken reasonable steps to prevent additional spread of the virus, including isolating the infected


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  individuals); Peter O.C. v. Tsoukaris, No. 20-cv-4622-SDW, Dkt. No. 13, Opinion, at 6-7

  (D.N.J. May 7, 2020) (attached as Ex. 6) (denying request for release by detainee who claimed to

  be at high-risk for COVID-19, given facility’s steps to mitigate the risk of the virus to inmates,

  including increased cleaning, availability of medical staff, increased testing, and establishing a

  quarantine area for those who become infected); Murai v. Adducci, No. 20-cv-10816, Dkt. No. 8,

  Order Denying Without Prejudice Petitioner’s Motion for Temporary Restraining Order, at 3

  (E.D. Mich. Apr. 16, 2020) (attached as Ex. 7) (finding that claims that “no detention conditions

  could adequately protect” petitioner to be “excessive conjecture to support the issuance of a

  TRO” and denying request for immediate release of ICE detainee due to COVID-19, where the

  facility did not have any confirmed COVID-19 cases but where petitioner alleged that other

  inmates were “visibly ill”); Verma v. Doll, No 4:20-CV-14, 2020 WL 1814149, at *6 (M.D. Pa.

  Apr. 9, 2020) (finding no deliberate indifference with respect to a 67-year-old detainee who had

  a medical history including four stents placed in his heart to treat cardiovascular disease,

  prediabetes, elevated lipids, and high blood pressure, where, in spite of a detainee testing positive

  for COVID-19, facility officials took reasonable steps to limit the spread of COVID-19

  throughout the facility); Umarbaev v. Lowe, No. 20-cv-413, Dkt. No. 16, Memorandum, at 15-16

  (M.D. Pa. Apr. 9, 2020) (attached as Ex. 8) (finding no deliberate indifference to detainee’s risk

  of contracting COVID-19, even though COVID-19 was present at the facility, where proactive

  steps had been taken to protect against the spread of the virus) cf. Ramirez v. Culley, No. 20-cv-

  609, Dkt. No. 20, Order Denying Motion for Temporary Restraining Order, at 4-6 (D. Nev. Apr.

  9, 2020) (attached as Ex. 9) (finding no likelihood of success on the merits by petitioner with

  pre-diabetes, hypertension, and high cholesterol, where the facility had implemented measures to

  protect against the spread of COVID-19, although in a facility where there were no positive cases



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  of COVID-19); Coreas, 2020 WL 1663133, at *12 (finding again, albeit in a detention facility

  that had no confirmed cases of COVID-19, that where facility was below capacity and had taken

  steps to prevent the spread of COVID-19, high-risk petitioners were not entitled to release

  pursuant to a TRO alleging due process violations, stating that “[t]o adopt Petitioners’ position

  would be to hold that the detention of any high-risk immigration detainee during the pandemic is

  necessarily unconstitutional, a position that the Court is not presently prepared to adopt.”).

          As a result, appellate courts across the country have begun to stay injunctions granting

  class relief similar to the relief that Petitioners seek here. See, e.g., Roman v. Wolf, No. 20-

  55436, 2020 WL 2188048 (9th Cir. May 5, 2020) (unpublished) (staying a preliminary

  injunction that directed the release of immigration detainees and imposed numerous other

  requirements based on COVID-19 claims); Valentine v. Collier, 956 F.3d 797, 799-804 (5th Cir.

  2020) (per curiam), mot. to vacate stay denied, No. 19A1034 (5th Cir. May 14, 2020) (staying an

  injunction that imposed a series of requirements, such as cleaning and provision of additional

  sanitizers and paper products, for a class of “disabled and high-risk” inmates in a state prison that

  had experienced an outbreak of COVID-19, after finding the injunction to be an “intrusive

  order[]”, inflicting irreparable harm on both the State and the public, and finding that the district

  court erred in finding an Eighth Amendment violation); Swain v. Junior, No. 20-11622, 2020

  WL 2161317, at *1 (11th Cir. May 5, 2020) (per curiam) (staying injunction obtained by inmates

  representing a “medically vulnerable” subclass of inmates at a facility where several inmates had

  tested positive for the virus, after determining that the district court’s reliance on the facility’s

  “increase in COVID-19 infections” as proof that officials “deliberately disregarded an intolerable

  risk” reflected the district court’s misunderstanding of the Eighth Amendment inquiry and the

  requirements for a preliminary injunction); see also United States v. Dade, 959 F.3d 1136, 1139



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  (9th Cir. 2020) (denying request for release pending habeas petition on the basis of the COVID-

  19 pandemic, as the existence of the COVID-19 pandemic alone did not meet the requirements

  of an “exceptional circumstance” that would justify release). In short, when detention facilities

  have made reasonable, diligent efforts to respond to the COVID-19 pandemic and mitigate its

  spread with respect to detainees, the conditions of confinement are not unconstitutional.

          B.      The Flores Court’s Finding of Contractual Violations Under the Flores
                  Settlement Agreement Does Not Equate to a Constitutional Violation

                  1.      Petitioners improperly conflate the legal standards for a Flores Settlement
                          Agreement contract violation with the Due Process analysis under the
                          Fifth Amendment.

          Petitioners incorrectly ask this Court to conclude that the Flores court’s finding of

  contractual violations in Flores warranting heightened monitoring and enhanced application of

  the release procedures required under the Flores Settlement Agreement (“FSA”) provides a basis

  to resolve the Fifth Amendment issue in the present case. See Flores v. Barr, No.

  CV854544DMGAGRX, 2020 WL 3488040, *1 (C.D. Cal. June 26, 2020); Petitioners’

  Memorandum In Support Of Motion For Preliminary Injunction (“Pet. PI Memo”) ECF No. 78-1

  at 15-16. In so doing, Petitioners appear to conflate the contractual nature and scope of the FSA,

  see Flores v. Barr, 407 F. Supp. 3d 909, 928-31 (C.D. Cal. 2019) (noting that the Agreement “is

  a creature of the parties’ own contractual agreements” memorialized as a “consent decree” that is

  “the work of [the Government] and the other parties” in the underlying Flores litigation), with

  the salient legal standard in the present case—a constitutional inquiry into whether the conditions

  at the FRCs amount to punishment. See Bell v. Wolfish, 441 U.S. 520, 535 (1979) (“In evaluating

  the constitutionality of conditions or restrictions of pretrial detention . . . the proper inquiry is

  whether those conditions amount to punishment of the detainee.”).




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         Indeed, Petitioners appear to concede that the legal standards for the two cases differ. See

  Pet. PI Memo at 15-16 (acknowledging that Petitioners’ request “for preliminary relief pose

  different legal questions to Judge Gee (contractual violation of the Flores Settlement Agreement)

  and this Court (violation of Fifth Amendment rights)”). But Petitioners attempt to resolve this

  issue by asserting that the two analyses contain overlapping factual considerations, and that this

  therefore necessitates that this Court reach their desired result. See id. (“both questions turn on

  the same factual determination: whether the FRCs provide ‘safe’ conditions”). Petitioners’

  proposed approach is over-simplified, however, because parlaying factual considerations that are

  common on their face, but potentially different in application, does not bridge the gap between

  the differing legal standards for the two analyses.

         Specifically, the question of whether a facility provides “safe and sanitary” conditions

  consistent with the FSA is one of contractual interpretation, requiring the Flores court to analyze

  the intent of the parties to the Agreement in using those terms. FSA ¶ 12.A. While the Bell

  analysis might involve an analysis of the “safety” of a facility, there is no basis to find that this

  Court must adopt the Flores court’s use of that term. Moreover, the overall evaluation that this

  Court should conduct in determining whether conditions at ICE FRCs are “punitive” is not

  limited to considerations of “safety,” but rather requires a balancing of conditions against their

  governmental purpose that is found nowhere in the Flores court’s analysis.

         Accordingly, because Petitioners’ assertions are vague and seek to over-simplify the

  questions that this Court must address, the Court should decline Petitioners’ invitation to broadly

  equate contractual violations as due process violations under the Fifth Amendment.




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                 2.      Petitioners erroneously ask this Court to expand the release rights
                         provided to minors under the Flores Settlement Agreement to adults.

         Petitioners also argue that the Flores court’s recent orders demonstrate a Fifth

  Amendment violation for the adult Petitioners in this case that requires this Court to order the

  release of parents in the same manner that the Flores court ordered the release of class member

  minors in that case. Pet. PI Memo at 8-9. With regard to the conditions at the FRCs, Petitioners

  again rely on the same misunderstanding as discussed above—that the legal standards for a

  contractual violation under the FSA, and for due process violations under the Fifth Amendment,

  are the same. As discussed above, however, equating the two starkly different standards is an

  improper conflation.

         Moreover, to the extent that Petitioners are asking this Court to order the release of the

  adult parents of Flores class member minors, Petitioners’ argument ignores the fact that the

  Flores court’s orders requiring ICE to consider minors at FRCs for release are based on release

  rights that are provided specifically to minors in the FSA, see FSA ¶¶ 14, 18, and that the Ninth

  Circuit has directly held do not apply to the minors’ adult parents. See Flores v. Lynch, 828 F.3d

  898, 905 (9th Cir. 2016). Specifically, the Ninth Circuit held that,

         “The district court erred in interpreting the Settlement to provide release rights to
         adults. The Settlement does not explicitly provide any rights to adults. Bunikyte,
         ex rel. Bunikiene v. Chertoff, No. A-07-CA-164-SS, 2007 WL 1074070, *16
         (W.D. Tex. Apr. 9, 2007). The fact that the Settlement grants class members a
         right to preferential release to a parent over others does not mean that the
         government must also make a parent available; it simply means that, if available,
         a parent is the first choice. Because “the plain language of [the] consent decree is
         clear, we need not evaluate any extrinsic evidence to ascertain the true intent of
         the parties.” See Nehmer v. U.S. Dep’t of Veterans Affairs, 494 F.3d 846, 861 (9th
         Cir. 2007). In any case, the extrinsic evidence does not show that the parties
         intended to grant release rights to parents. “In fact, the context of the Flores
         Settlement argues against this result: the Settlement was the product of litigation
         in which unaccompanied minors argued that release to adults other than their
         parents was preferable to remaining in custody until their parents could come get
         them.” Bunikyte, 2007 WL 1074070 at *16.”


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  Flores, 828 F.3d at 908-09; Flores v. Sessions, 394 F. Supp. 3d 1041, 1066 n.17 (C.D. Cal.

  2017). The Ninth Circuit’s order thus unequivocally precludes Petitioners’ arguments that any

  release rights that the Flores court finds apply to minors under the FSA may be applied to adults,

  whose detention is governed entirely by the Immigration and Nationality Act, and not by the

  release provisions of the FSA.

          Since the Ninth Circuit’s decision in 2016, courts have time and again affirmed and

  reiterated the holding that the FSA does not apply to adults. See, e.g., Flores v. Barr, No.

  CV854544DMGAGRX, 2020 WL 2128663, at *7 (C.D. Cal. Mar. 28, 2020); Flores v. Sessions,

  No. CV854544DMGAGRX, 2017 WL 8943169, at *4 (C.D. Cal. Nov. 14, 2017); see also

  Villafuerte v. United States, No. 7:16-CV-619, 2017 WL 8793751, at *2 (S.D. Tex. Oct. 11,

  2017) (same). And in fact, Petitioners have acknowledged as much in a previous filing. See ECF

  No. 53 at 5-6. It is fatal to their arguments then that Petitioners do not address the Ninth Circuit

  precedent and its progeny in their present motion and provide no explanation as to why this

  Court should ignore this relevant precedent and hold that the FSA extends to parents. To be sure,

  the Flores court recognized that it could not order the release of parents under the FSA, see

  Flores, 2020 WL 3488040, at *3 ¶ 1 (insofar as it relates to the FSA, the court noted that legal

  guardians/parents may be released “if ICE exercises its discretion to release the adults”), and

  Petitioners here cannot ask this Court to do what the Flores court has clearly acknowledged it

  cannot. Therefore, without more, Petitioners have not demonstrated how Judge Gee’s most

  recent orders applying the release provisions of the FSA to minors can be applied by this Court

  to the adult Petitioners in this case.




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  II.     PETITIONERS HAVE FAILED TO SHOW A LIKELIHOOD OF
          IRREPARABLE HARM ABSENT THEIR REQUESTED PRELIMINARY
          RELIEF.

          A movant is required to demonstrate an irreparable injury, which Petitioners have not

  done here. See Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir.

  2006) (“A movant’s failure to show any irreparable harm is therefore grounds for refusing to

  issue a preliminary injunction, even if the other three factors entering the calculus merit such

  relief.”). “[P]roving ‘irreparable’ injury is a considerable burden, requiring proof that the

  movant’s injury is ‘certain, great[,] and actual—not theoretical—and imminent, creating a clear

  and present need for extraordinary equitable relief to prevent harm.” Power Mobility Coal. v.

  Leavitt, 404 F. Supp. 2d 190, 204 (D.D.C. 2005) (quoting Wis. Gas Co. v. FERC, 758 F.2d 669,

  674 (D.C. Cir. 1985)).

          Here, Petitioners have not established that any specific Petitioner will suffer irreparable

  harm in the absence of the demanded relief. Petitioners instead argue in sweeping language that

  they all face irreparable harm “in the form of continued detention in unsafe and punitive

  conditions,” Pet. PI Memo at 23. Petitioners continue that “numerous confirmed cases of

  COVID-19 at the FRCs,” show that the immigration detention systems are a “tinderbox” for

  COVID-19 infection. Id. But as Respondents various declarations demonstrate ICE and the

  relevant FRCs have implemented numerous protocols and procedures, in accordance with the

  guidance issued by the CDC, and the ICE PRR to prevent and mitigate the risk of harm to

  Petitioners. ECF Nos. 39; 39-1; 39-2; 39-3; 50; 51-1; 51-2; 51-3, 51-4, and 56; see also C.G.B.,

  2020 WL 2935111 at *2-4 (outlining several steps ICE and the CDC have taken to contain the

  virus in detention facilities).

          Further, each FRC has implemented policies to thoroughly test new intakes and the

  reported COVID-19 positive results have been limited to these new intakes, who are subject to
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  automatic quarantine for at least 14 days and housed separately from the FRC residents. See

  Hunt Decl. ¶ 3; George Decl. ¶ 29; Hofbauer Decl. ¶ 5.c. Notably, none of the residents in the

  general population have tested positive for COVID-19 at any of the facilities. See George Decl. ¶

  19. (As of June 22, 2020, all individuals housed at Berks on that date were tested for COVID-19,

  and zero residents tested positive for COVID-19); Hunt Decl. ¶ 9 (As of June 23 and 24, 2020,

  Dilley conducted testing of all residents already at the facility, all whom tested negative for

  COVID-19); Hofbauer Decl. ¶ 5.c. (No residents in the general population at Karnes have tested

  positive). Thus, even assuming contracting COVID-19 constitutes irreparable harm, Petitioners

  have not shown that any one of them is certain to or imminently at risk of infection.

         Furthermore, ICE has implemented measures to identify residents who are especially

  vulnerable and with high risk factors. Hunt Decl. ¶ 7; Hofbauer Decl. ¶ 12. All residents are

  screened by medical staff for any chronic care illnesses upon intake. Id. And all residents with

  high risk factors are identified in EARM with a Risk Factor alert code. Id. In addition, cases

  involving risk factors are reviewed and evaluated for possible release based on vulnerabilities.

  Hunt Decl. ¶ 7.

         Petitioners also claim that they face irreparable harm by facing “the false ‘choice’ of

  family separation or continued detention of children who have been ordered released by the

  Flores court.” Pet. PI Memo at 24. But first, as explained supra, Argument Section at I.B., Judge

  Gee’s order in Flores (2020 WL 3488040)—providing for the transfer of Class Members who

  have resided at the FRCs for more than 20 days to non-congregate settings—stems from a

  contractual analysis of the FSA, not any due process analysis, or a determination of a likelihood

  of irreparable harm absent such transfer, as required under the injunction standard that applies

  here. Second, the fact that the Flores order allows for legal adult guardians/parents to withhold



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  consent and keep the minor with them in the FRCs similarly fails to establish a likelihood of

  irreparable injury, given the various health and safety protocols that ICE continues to implement

  and enforce at the FRCs. At this juncture—with no families in general population at the FRCs

  testing positive for COVID-19—Petitioners’ assertions that the children are in “harm’s way” are

  purely speculative. Third, the Court should, and must, reject Petitioners’ attempt to recast this

  case as a case about family separation, particularly as it pertains to the irreparable harm factor.

  Rather, this matter is, and has always been, a challenge to the conditions of confinement at the

  FRCs and whether they comport with due process standards and, as shown above, they do. Thus,

  Petitioners do not face likely, irreparable harm absent release. Nonetheless, the Government has

  sought to detain migrant families together whenever possible, a proposition that Judge Sabraw

  readily agreed with. See Ms. L. v. ICE, 310 F. Supp. 3d 1133 (S.D. Cal. 2018).

  III.   THE BALANCE OF EQUITIES AND PUBLIC INTEREST FACTORS FAVOR
         RESPONDENTS

         Finally, Petitioners have not demonstrated that “the balance of equities tips in their

  favor,” and that “an injunction is in the public interest.” Sherley v. Sebelius, 644 F.3d 388, 392

  (D.C. Cir. 2011). When the government is a party to the litigation, these two factors merge and

  “are one and the same, because the government’s interest is the public interest.” Pursuing Am.’s

  Greatness v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016).

         Here, the balance of the equities and the public interest tip decidedly in favor of

  Respondents. To begin, it is well-settled that the public interest in enforcement of United States

  immigration laws is significant. United States v. Martinez-Fuerte, 428 U.S. 543, 556-58 (1976);

  Blackie’s House of Beef, Inc., 659 F.2d at 1221 (“The Supreme Court has recognized that the

  public interest in enforcement of the immigration laws is significant.”); see also Nken, 556 U.S.




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  at 435 (“There is always a public interest in prompt execution of removal orders). That interest

  does not disappear during a pandemic.

           Indeed, the public interest favors the continuation of detainee-specific analyses. And as

  reflected by the significant decrease in the FRCs’ total resident population, Respondents have

  made and continue to make detainee-specific assessments for releases. The public interest favors

  the continuation of these detainee-specific assessments over the blunt and legally dubious

  instrument of enjoining the detention of all FRC residents. “[W]here the Court has a less

  intrusive means” of ensuring legal compliance, “the public interest would weigh towards

  choosing such options, especially where ... the plaintiffs seek a mandatory (‘do this’) rather than

  prohibitory (‘don’t do this’) injunction.” Garnett v. Zeilinger, 313 F. Supp. 3d 147, 160 (D.D.C.

  2018). And as another court in this District found, “[w]here, as here, the government has taken

  steps to craft policies to address the public health issues associated with COVID-19 while

  continuing to enforce the immigration laws, and where the Court is certainly not well-positioned

  to second-guess those health and safety determinations, the public interest does not point in favor

  of granting injunctive relief.” See Nat’l Immigration Project of Nat’l Lawyers Guild v. Exec.

  Office of Immigration Review, Civ. A. No. 20-852, 2020 WL 2026971, at *12 (D.D.C. Apr. 28,

  2020).

  IV.      RELEASE IS NOT THE APPROPRIATE REMEDY FOR A CONDITIONS OF
           CONFINEMENT CLAIM

           Even if this Court were to find a constitutional violation in the conditions of confinement

  at each of the three FRCs, the appropriate remedy is a change to the violative conditions—not

  release. See Milliken v. Bradley (Milliken II), 433 U.S. 267, 280 (1977) (noting that the nature of

  the “remedy is to be determined by the nature and scope of the constitutional violation” and thus

  must be “related to ‘the condition alleged to offend the Constitution’”). Indeed, where a


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  constitutional violation has occurred, “[t]he function of a court is limited to … fashioning a

  remedy that does no more and no less than correct that particular constitutional violation.”

  Hoptowit v. Ray, 682 F.2d 1237, 1246 (9th Cir. 1982) (citing Rhodes v. Chapman, 452 U.S. 337,

  352 (1981) and Swann v. Charlotte-Mecklenburg Bd. of Educ., 402 U.S. 1, 16 (1971)). “[I]t is

  axiomatic that the remedial power of a district court is coterminous with the scope of the

  constitutional violation found to exist.” Newman v. Alabama, 503 F.2d 1320, 1332-33 (5th Cir.

  1974). Therefore, the constitutional remedy should mirror the constitutional violation; otherwise,

  the Court would grant to Petitioners that to which they have no entitlement, while permitting an

  allegedly unconstitutional deficiency to continue. Inmates of Allegheny Cty. Jail v. Pierce, 612

  F.2d 754, 762 (3d Cir. 1979) (“Systemic deficiencies in staffing which effectively deny inmates

  access to qualified medical personnel for diagnosis and treatment of serious health problems

  have been held to violate constitutional requirements… [and] court[s have] ordered the hiring of

  additional medical staff, both physicians and nurses, to bring the level of medical care up to the

  constitutional minimum.”).

         Here, Petitioners purport that they reside in an environment where they “cannot engage in

  proper hygiene,” nor “social distance”. ECF No. 1, Petitioners’ Petition for Writ of Mandamus

  and Complaint for Declaratory and Injunctive Relief (“Pet. Compl.”) at ¶¶ 91, 99. Petitioners

  also allege deficiencies in personal protective equipment practices, education about COVID-19,

  and medical preparedness at the FRCs, Pet. PI Memo at 17. Releasing Petitioners does nothing to

  remedy or improve any of these conditions. Because Petitioners are not lawfully entitled to

  release, and release would not improve the conditions at the FRCs, the Court should decline to

  order it. See United States v. Otunyo, Cr. No. 18-251, 2020 WL 2065041, *13 (D.D.C. Apr. 28,

  2020) (“release of a defendant is among the most drastic remedies available for addressing



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  unconstitutional conditions of confinement, and this remedy is not ordered lightly”); see also

  Dawson, 2020 WL 1304557, at *2 (noting that plaintiffs provided no authority that “would

  justify immediate release, as opposed to injunctive relief that would leave plaintiffs detained

  while ameliorating any alleged violative conditions within the facility”); Toure v. Hott, 2020 WL

  2092639, at *9 (holding in denying TRO even in this pandemic “[i]njunctive relief in this

  instance would require that any deficient conditions of confinement be cured”); A.S.M. v.

  Donahue, No. 20-cv-62, 2020 WL 1847158, *2 (M.D. Ga. Apr. 10, 2020) (“[t]he remedy for this

  type of claim … is modification of the conditions of confinement to eliminate the constitutional

  violation” and not release).

          Petitioners nevertheless argue that “numerous courts [] have already found release to be

  an appropriate remedy for civil detainees facing similarly unsafe conditions due to COVID-19,”

  Pet. PI Memo at 21, citing a few out-of-circuit district court cases that ordered individualized

  bail hearings. Petitioners’ argument, however, fails to recognize that courts in this District have

  repeatedly declined to order release for conditions of confinement claims based on COVID-19,

  like Petitioners’ claims here. In fact, a court in this District specifically concluded that

  “[u]nconstitutional conditions of confinement can typically be remedied without resorting to the

  release of a defendant.” Otunyo, 2020 WL 2065041, at *13 (explaining that “release of a

  defendant is among the most drastic remedies available for addressing unconstitutional

  conditions of confinement, and this remedy is not ordered lightly”); see also C.G.B., 2020 WL

  2935111 at *28 (concluding that “the primary remedy that plaintiffs seek—their immediate

  release from ICE custody—is the most intrusive measure possible and plaintiffs have failed to

  show that such incursion is necessary to redress the complained-of violations,” and citing cases);

  Banks, 2020 WL 1914896, at *13 (despite finding that plaintiffs were entitled to some injunctive



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  relief based on COVID-19 allegations, refusing to order the release of any inmates detained at

  correctional facilities). Contrary to Petitioners’ out-of-circuit cases, courts in this District have

  ordered amelioration as an appropriate remedy, not release.

          Nor should the Court be persuaded by Petitioners’ claim that no alternative remedy short

  of release will suffice to ensure their safety at the FRCs. Petitioners contend that, because FRCs

  “are congregate detention facilities” and “one cannot reasonably expect Respondents will

  adequately implement any alternative remedial order,” release is essential. Pet. PI Memo at 22-

  23. Petitioners are incorrect. With respect to Berks, the Commonwealth Court of Pennsylvania

  concluded that it “has adequate space for social distancing as it is a 58,000 square foot facility

  with an additional outdoor recreation area of at least three acres.” C.N., et al. v. Pennsylvania

  Dep’t of Human Servs., No. 268 M.D. 2020, July 7, 2020 Mem. Op. at 27-28 (Pa. Commw. Ct.);

  see also George Decl. ¶¶ 38-42. Likewise, in Hassoun v. Searls, No. 19-cv-370, 2020 WL

  1819670, *8 (W.D.N.Y. Apr. 10, 2020), the court found that the petitioner was “fully able to

  remain six feet from any other detainees and thus can follow the CDC’s social distancing

  guidelines.” See also C.G.B., 2020 WL 2935111, at *23 (rejecting notion that “any detention that

  does not allow detainees to perfectly practice social distancing would be per se

  unconstitutional”); Sacal-Micha, 2020 WL 1518861, at *5-6 (rejecting broad argument that

  detention facility was “incapable of protecting petitioner from contracting COVID-19 and

  providing appropriate medical attention should he be infected”). Furthermore, as discussed in

  detail in each of the three ICE declarations filed simultaneously with this opposition, ICE and its

  facility partners have provided protection from COVID-19 and health care to its detainees well in

  excess of what the Constitution requires. See, generally, George Decl.; Hunt Decl.; Hofbauer

  Decl.; see also C.G.B., 2020 WL 2935111, at *23 (“due process only requires the Government to



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  provide detainees with ‘reasonable safety,’ not perfect safety”). But even if the Court disagrees,

  it should order the facilities to take those additional actions necessary to bring them into

  compliance with constitutional strictures, not order release. C.G.B., 2020 WL 2935111, at *31

  (declining to order ICE to comply with COVID-19 Pandemic Response Requirements where

  “ICE is making steady progress towards constitutionally sufficient protections against COVID-

  19” and “[o]verlapping and unnecessary judicial involvement in the Government’s management

  of its immigration detention facilities would be contrary to the public interest”); Sacal-Micha v.

  Longoria, Civ. A., No. 20-37, --- F.Supp.3d ----, 2020 WL 1518861, at *6 (S.D. Tex. Mar. 27,

  2020) (“the fact that ICE may be unable to implement the measures that would be required to

  fully guarantee Sacal’s safety … does not warrant his release”).

  V.     THE COURT SHOULD SEVER PETITIONERS’ CLAIMS FOR EACH
         FACILITY AND TRANSFER THEM TO A MORE APPROPRIATE VENUE

         Petitioners assert claims regarding the various conditions of confinement at three

  different FRCs; yet, there is no reason why their claims should be joined together in a single

  action. The Court should, thus, sua sponte sever Petitioners’ claims and transfer them to each

  FRC’s home forum. See Pinson v. U.S. Dep’t of Justice, 74 F. Supp. 3d 283, 291 (D.D.C. 2014)

  (citing Fed. R. Civ. P. 21); Spaeth v. Michigan State Univ. College of Law, 845 F. Supp. 2d 48,

  53 n.6 (D.D.C. 2012).

         The Court may sever claims if parties are improperly joined. See Fed. R. Civ. P. 21. “In

  determining whether parties are misjoined for purposes of Rule 21, courts apply the permissive

  joinder requirements of Rule 20(a).” Davidson v. Dist. of Columbia, 736 F. Supp. 2d 115, 119

  (D.D.C. 2010). Under Rule 20(a), “[p]ersons may join in one action as plaintiffs if: (A) they

  assert any right to relief … with respect to or arising out of the same transaction, occurrence, or

  series of transactions or occurrences” and “(B) any question of law or fact common to all


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  plaintiffs will arise in the action.” Fed. R. Civ. P. 20(a)(1). If the Rule 20(a) test is not satisfied,

  plaintiffs are not properly joined and the Court may sever them under Rule 21. Spaeth, 845 F.

  Supp. 2d at 53.

          Here, it is evident that Petitioners are improperly joined. First, their claims do not satisfy

  the first prong of Rule 20(a) because they are not “logically related,” having spawned from

  different occurrences and events at different FRCs pertaining to different petitioners. Spaeth, 845

  F. Supp. 2d at 53. Petitioners are spread among three facilities in three different cities, each with

  different community dynamics, and each varying in size, location, and conditions. For example,

  the FRCs have varying housing arrangements and different detainee density, and each FRC is

  responding to COVID-19 based on its individual needs and circumstances. Moreover, some

  petitioners are children who have rights under the FSA while the adult petitioners do not. And

  although Petitioners are all detained at an FRC, their risk of contracting and becoming ill with

  COVID-19 is vastly different given the different risk profiles for COVID-19 based on

  differences in any underlying health conditions. Petitioners, themselves, appear to acknowledge

  these key differences in arguing that the FRCs’ “unevenly implemented written protocols” are

  insufficient to comply with their FSA obligation to “provide safe and sanitary conditions.” Pet PI

  Memo at 15.

          Other than all being detained at the FRCs, Petitioners have proffered nothing to show that

  their claims are logically related in any way—much less that they raise a common “question of

  law or fact.” The fact that Petitioners’ claims are premised on the same legal theory—a Fifth

  Amendment due process violation—is insufficient. Spaeth, 845 F. Supp. 2d at 54. The simple

  fact is that Petitioners’ claims involve different people who are alleged to have suffered from

  different action taken by different government actors at different FRCs and at different times. It



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  is, therefore, plain that Petitioners’ claims should not be joined together in one action. Id. at 53-

  57 (plaintiff’s discrimination claims against four universities were misjoined where plaintiff did

  not allege that defendants’ actions occurred in the same location or at the same time and the

  complaint suggested that defendants acted independently when they evaluated his candidacy and

  decided against interviewing or hiring him); C.G.B., 2020 WL 2935111, at *21 (Rule 20(a)

  requirements were not met because there was no “substantial overlap in the facts” of the new

  plaintiffs’ claims and the existing plaintiffs’ claims; the new plaintiffs were held in different

  detention centers, experienced different treatment during their detention, and had different

  medical histories); Davidson, 736 F. Supp. 2d at 120-21 (concluding that Rule 20(a) was not met

  where plaintiffs’ claims arose out of separate administrative proceedings that resulted in separate

  determinations issued on different dates involving different students).

         Furthermore, Rule 21 must be read in conjunction with Rule 42(b), which allows the

  Court to sever claims to prevent prejudice to any party. Davidson, 736 F. Supp. 2d at 121. Proper

  consideration of Petitioners’ due process claims necessarily turns on an individualized analysis

  of each petitioner’s circumstances and the particular conditions of the facility where that

  petitioner is detained. Wolfish, 441 U.S. at 535; see also C.G.B., 2020 WL 2935111, at *16

  (explaining that “multiple subsidiary issues [are] necessarily involved” in resolving plaintiffs’

  conditions of confinement claim that turn on “ICE’s day-to-day operations in each individual

  detention facility (and for that matter, in each individual unit in which putative class members

  are housed)”). Petitioners, however, have lumped all of their alleged violations together in the

  hope that the Court will blur the relevant distinctions between each FRC and find the conditions

  at all three FRCs unconstitutional. See, e.g., Pet. PI Memo at 18 (relying on Judge Gee’s finding

  that at one FRC, staff did not wear masks at all times to challenge conditions at the other two



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  FRCs); id. at 16 (arguing that “[j]ust as Judge Gee found the FRCs unsafe for the child

  Petitioners and a violation of their contractual Flores rights, so too should this Court find the

  FRCs unsafe for all Petitioners and a violation of their Fifth Amendment rights.”). Petitioners’

  true intention is unmistakably clear: they want the Court to impart the alleged misdeeds of one

  FRC to the other FRCs, unfairly resulting in “guilt by association.” See Spaeth, 845 F. Supp. 2d

  at 56. Because proceeding in this fashion would prejudice Respondents, the Court should sever

  Petitioners’ claims to eliminate that risk. Id.; cf. C.G.B., 2020 WL 2935111, at *19 (recognizing

  that claims of alleged violations at different facilities were not susceptible to generalized proof,

  because “proof that, say, the La Palma Detention Center is inadequately implementing social

  distancing measures sheds little light on the situation at Nevada Southern”).

          Finally, after Petitioners’ claims are severed into three separate actions for each of the

  three FRCs, the Court should transfer each case to that FRC’s home forum. “For the convenience

  of parties and witnesses, in the interest of justice,” the Court may transfer each severed case “to

  any other district or division where it might have been brought.” 28 U.S.C. § 1404(a). A

  defendant must make two showings to justify transfer under § 1404(a): first, that the plaintiff

  could have brought the action in the proposed transferee district and, second, that considerations

  of convenience and the interest of justice weigh in favor of transfer to that district. Trout

  Unlimited v. U.S. Dep’t of Agric., 944 F. Supp. 13, 15-16 (D.D.C. 1996). 6 Respondents make

  both showings.




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    This second inquiry requires the district court to weigh a number of case-specific factors related
  to both the public and private interests at stake. Private-interest factors include: (1) the plaintiff’s
  choice of forum; (2) the defendant’s choice of forum; (3) whether the claim arose elsewhere; (4)
  the convenience of the parties; (5) the convenience of the witnesses; and (6) the ease of access to
  sources of proof. Trout Unlimited, 944 F. Supp. at 16. Public-interest factors include: (1) the
  transferee’s familiarity with the governing laws; (2) the relative congestion of the calendars of
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          There is no question that Petitioners could have filed their claims regarding Berks in the

  Eastern District of Pennsylvania and their claims pertaining to Dilley and Karnes in the Western

  District of Texas. Where, as here, a defendant “is an officer or employee of the United States,”

  venue is proper in any district in which: “(A) a defendant in the action resides, (B) a substantial

  part of the events or omissions giving rise to the claim occurred . . ., or (C) the plaintiff resides if

  no real property is involved in the action.” 28 U.S.C. § 1391(e)(1). Venue is proper in the

  Eastern District of Pennsylvania (Berks) and the Western District of Texas (Dilley and Karnes)

  because a substantial part, if not all, of the events or omissions giving to Petitioners’ claims

  occurred in those districts. Notably, Petitioners are also housed in these districts, where they are

  detained, not in Washington, D.C.

          Also, considerations of convenience and the interest of justice weigh in favor of transfer.

  While Petitioners filed suit in this District, none of them are alleged to reside in Washington,

  D.C., and none of the FRCs are located here. Pet. Compl. at ¶¶ 2, 20-56; Jimenez v. R&D

  Masonry, Inc., No. 15-cv-1255, 2015 WL 7428533, *3 (D.D.C. Nov. 20, 2015) (“when ‘the

  forum preferred by the plaintiff is not his home forum,’ and the defendant prefers the plaintiff’s

  home forum, then there is little reason to defer to the plaintiff’s preference”) (citation omitted).

  Nor have Petitioners alleged that any of “the material events that form the factual predicate” of

  their claims occurred in this District. Jimenez, 2015 WL 7428533, at *3; see also Trout

  Unlimited, 944 F. Supp. at 17 (deference to plaintiff’s choice of forum is mitigated where that

  forum has “no meaningful ties to the controversy and no particular interest in the parties or

  subject matter”); see generally, Pet. Compl. It is also very likely that any probable witnesses,




  the transferor and transferee courts; and (3) the local interest in having local controversies
  decided at home. Id.
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  relevant documents, and other evidence will be in the Eastern District of Pennsylvania and the

  Western District of Texas where the FRCs are located—not in this District. Spaeth, 845 F. Supp.

  2d at 59. To the extent that Petitioners seek to establish a nexus between their claims and this

  District merely by naming high-ranking government officials as Respondents, such tactics have

  not proven successful. See, e.g., Cameron v. Thornburg, 983 F.2d 253, 256-57 (D.C. Cir. 1993)

  (where venue allegation “depends on a wholly unsubstantiated assumption that policy decisions

  made in Washington ultimately affected Cameron’s treatment at Terre Haute” and “complaint

  did not allege a single rule or policy emanating from Washington that affected his case,” case

  was transferred case to Southern District of Indiana where the relevant events and omissions

  occurred and where prison at issue was located); Trout Unlimited, 944 F. Supp. 13 at 17-18

  (finding relationship of the challenged agency action to Washington, D.C. “attenuated” and

  transferring case to Colorado, where the challenged decision-making process occurred). Because

  Petitioners’ claims fundamentally revolve around the three FRCs and the alleged acts and

  omissions of FRC personnel, Petitioners’ inclusion of the DHS Secretary and Attorney General

  simply do not warrant litigating this suit in this District. Id. As a result, the private-interest

  factors overwhelmingly weigh in favor transfer.

          The public-interest factors similarly tilt towards transfer. First, this District, the Eastern

  District of Pennsylvania, and the Western District of Texas are all equally capable of handling

  the issues of federal law that govern this case, as “this Court follows ‘the principle that the

  transferee federal court is competent to decide federal issues correctly.’” See Nat’l Wildlife Fed’n

  v. Harvey, 437 F. Supp. 2d 42, 49 (D.D.C. 2006) (citation omitted). This factor, therefore, does

  not weigh in favor of or against transfer. The second public-interest factor—relative court

  congestion—is an especially significant consideration for courts in the District of Columbia



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  because any number of lawsuits involving federal agencies and officials, like this one, could be

  brought here simply because agency headquarters are located in the District. Cameron, 983 F.2d

  at 256. Consequently, courts in this District long ago recognized that lawsuits brought by

  individuals located in other parts of the country are better heard by the courts in the districts

  where those individuals are located and where the events were alleged to have occurred, to

  prevent the courts here from becoming overwhelmed by such lawsuits. See, e.g., Young v. Dir.,

  BOP, 367 F.2d 331, 332-33 (D.C. Cir. 1966); Starnes v. McGuire, 512 F.2d 918, 928-29 (D.C.

  Cir. 1974). 7 Perhaps the third factor presents the most compelling reason to transfer these cases.

  Pennsylvania and Texas both have a significant stake in having these local controversies

  resolved where they arise and where the people will be the most affected. Trout Unlimited, 944

  F. Supp. at 17, 19-20 (holding that because the challenged decisions directly impacted the lands,

  waters, wildlife, and people of Colorado, Colorado had more of a connection to the case than the

  District of Columbia). These concerns are especially important here where Petitioners’ claims

  implicate community-specific issues of COVID-19 risks and prevention. Under these

  circumstances, the Court can, and should, sever Petitioners’ misjoined claims and transfer each

  to the district where the FRC at issue is located.




  7
    Nonetheless, the most recent data published by the U.S. Courts for the 12-month period ending
  March 31, 2020, do not appear to reflect a significant difference between the average times from
  filing to disposition in civil cases in the District of Columbia (5 months), the Eastern District of
  Pennsylvania (5.8 months), and the Western District of Texas (6 months). See U.S. District
  Courts-Civil Federal Judicial Caseload Statistics (Mar. 31, 2020)
  (https://www.uscourts.gov/statistics/table/c-5/federal-judicial-caseload-statistics/2020/03/31). As
  all three venues are well-suited to handle these cases, this factor is neutral. Jimenez, 2015 WL
  7428533, at *4.
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                                         CONCLUSION

         For the foregoing reasons, the Court should deny Petitioners’ motion for preliminary

  injunction.

  RESPECTFULLY SUBMITTED this 9th day of July 2020.

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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  O.M.G., et al.,                               )
                                                )
          Petitioners,                          )
                                                )
  v.                                            )              Case No. 1:20-cv-00786-JEB
                                                )
  Chad F. Wolf, Acting Secretary of             )
  the U.S. Department of Homeland               )
  Security, et al.,                             )
                                                )
          Respondents.                          )
                                                )

                         DECLARATION OF CHRISTOPHER GEORGE

   I, Christopher George, hereby declare that the following statements are true and correct to
   the best of my knowledge, information and belief:

   1. I am an Assistant Field Office Director (AFOD) for the U.S. Department of Homeland
      Security (DHS), U.S. Immigration and Customs Enforcement (ICE), Enforcement and
      Removal Operations (ERO) – Philadelphia Office. I began my employment with ICE on
      October 14, 2007, as an Immigration Enforcement Agent and later served as a Deportation
      Officer and Supervisory Detention and Deportation Officer. I have held my current position
      as an AFOD, since August 2018. As part of my current duties, I oversee the day-to-day
      operations relating to the case management of aliens detained at the Berks Family
      Residential Center (BFRC), located in Leesport, Pennsylvania.

   2. This declaration is to supplement my prior declarations submitted in the instant case. All the
      information contained in my prior declarations remains true and correct.

   3. The following additional information is based on my personal knowledge and on
      information provided to me in my official capacity.

  Pennsylvania COVID-19 Related Protocols

   4. On April 17, 2020, Governor Tom Wolf issued a three (3) phased plan (Red, Yellow and
      Green Phases) for reopening Pennsylvania. The 3-Phased Plan can be found at the following
      link: https://www.governor.pa.gov/process-to-reopen-pennsylvania/.

   5. The “Red Phase” has the most restrictive protocols in place aimed at minimizing the spread
      of COVID-19, to include strict social distancing requirements and closures of non-life
      sustaining businesses, in-person instruction, and childcare facilities. The “Yellow Phase” is
      directed towards resuming Pennsylvania’s economy while staying abreast of public health
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      data so to ensure the spread of COVID-19 remains contained to the greatest extent possible.
      This phase also allows for the easing of some restrictions on work and social interactions
      while keeping in place the closure of schools, gyms, and other indoor recreation centers, hair
      and nail salons, as well as limitations around large gatherings. The final phase is the “Green
      Phase,” which eases most restrictions, to include the suspension of the stay at home and
      business closure orders, in order to allow Pennsylvania’s economy to strategically reopen
      while continuing to prioritize public health. This phase also facilitates a return to a “new
      normal,” while continuing to monitor public health indicators and adjust orders and
      restrictions as necessary to ensure the spread of COVID-19 remains at a minimum.

   6. As of June 26, 2020, there are no counties in Pennsylvania that are presently operating at the
      Red Phase. Significantly, Governor Wolf’s previously issued Stay-At-Home Order, dated
      April 1, 2020, which restricted individuals from leaving their residence other than to perform
      limited activities and allowable essential travel, was lifted on June 5, 2020, thereby allowing
      the counties to move into the next phase of reopening.

   7. As of July 3, 2020, Lebanon County is the only county within Pennsylvania presently
      operating at the Yellow Phase.

   8. As of July 3, 2020, all other counties in Pennsylvania, including Berks County, are presently
      operating under the Green Phase.

   9. On July 1, 2020, Dr. Rachel Levine, Secretary of the Pennsylvania Department of Health
      issued an Order, entitled “Order of the Secretary of the Pennsylvania Department of Health
      Requiring Universal Face Coverings,” requiring individuals to use face coverings, when,
      among other things, in any indoor location where members of the public are generally
      permitted and when engaged in work that involves working in or walking through common
      areas, or in any room or enclosed area where other people, except for members of the person’s
      own household or residence, are present when unable to physically distance.

   10. Dr. Levine’s Order also provides narrow exceptions to the face covering requirement in
       instances where, among others, the individual: cannot wear a face mask due to a medical
       condition; is unable to remove the face covering my himself or herself; or the individual is
       under age two.

   11. This mandatory face covering requirement, which remains in effect until further notice was
       implemented in order to avoid a resurgence of COVID-19 cases within Pennsylvania,
       especially now that Governor Wolf has reopened the State.

   12. Dr. Levine’s Order can be found at:                 https://www.governor.pa.gov/wp-
       content/uploads/2020/07/20200701-SOH-Universal-Face-Coverings-Order.pdf




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   Enhanced COVID-19 Mitigation Requirements

   13. The BFRC continues to follow Pennsylvania, ICE and Centers for Disease Control and
       Prevention (CDC) guidelines in its care of the BFRC residents.

   14. These guidelines now also include the Pennsylvania Department of Human Services, June 5,
       2020 guidance, entitled “Guidance from the Department of Human Services, Office of
       Children Youth and Families to Support a Phased Approach to Ongoing Mitigation Efforts
       Preventing the Spread of the Coronavirus Disease 2019.” The purpose of the guidance is to
       ensure child welfare service providers have a shared understanding of expectations for how
       services will shift and resume as counties transition through Governor Wolf’s 3-Phased Plan.
       The guidance can be found here: https://www.dhs.pa.gov/coronavirus/Pages/OCYF-
       Guidance-to-Support-Phase-Mitigation-Efforts.aspx.

   BFRC Population

   15. The BFRC presently houses five (5) families for a total of 16 residents.

   16. The Executive Director for the BFRC, upon consultation with Berks County Executive
       Leadership, previously suspended admissions to the BFRC due to the COVID-19 pandemic.
       This restriction was lifted on or about April 20, 2020 pursuant to ICE’s request and with the
       understanding that only one (1) family would continue to be housed per room and, were both
       parents are present, the adult male would be housed in his own room. This parameter is in
       order to ensure that residents will be able to continue to socially distance within the facility.

   17. On March 18, 2020, the BFRC housed a total of five (5) families comprised of sixteen (16)
       residents. On June 11, 2020, one family consisting of two (2) adults and one (1) child was
       removed to Mexico.

   18. There were no other releases or admissions until July 7, 2020, when a family comprised of
       one (1) adult and two (2) children was admitted to the facility.

   Recent COVID-19 Testing at the BFRC

   19. On June 22, 2020, all residents housed at the BFRC on that date were tested for COVID-19.
       The results of the tests showed that zero (0) residents tested positive for COVID-19.

   20. As of July 8, 2020, there have been no residents or staff at the BFRC who have tested positive
       for COVID-19.

   21. The most recently admitted family was tested for COVID-19 on July 7, 2020 and the test
       results remain pending.




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  COVID-19 Cases within the BFRC’s Surrounding Area
   22. The BFRC staff do not work in the local nursing homes and more specifically at the Berks
       Heim Nursing Home (Berks Heim). Likewise, Berks Heim has its own dedicated staff, who
       do not perform any duties within the BFRC. Additionally, there is no known instance(s) of
       any BFRC staff member having visited Berks Heim since the onset of the COVID-19
       pandemic. Similarly, no members of the Berks Heim staff have visited the BFRC. Even prior
       to the pandemic, Berks County employees who are employed within the various departments
       are not permitted to be within the BFRC.

   23. While it has been alleged that the prevalence of COVID-19 within the surrounding
       community will likely lead to COVID-19 infections at the BFRC, likely brought in by BFRC
       staff, this claim is belied by the fact that the BFRC has had zero (0) confirmed cases among
       staff or residents, despite its proximity to Berks Heim, which has sadly seen positive COVID-
       19 cases and deaths.

   24. To provide some insight on the surrounding community, the BFRC is located in Leesport,
       Pennsylvania, which is identified by area code 19533, and has population of approximately
       1,898 people. According to the Pennsylvania Department of Health, as of July 6, 2020, Berks
       County, in which Leesport is located and whose approximate population is 421,164, had a
       total of 4,425 confirmed COVID-19 cases – representing a little over one percent of its entire
       population.

   25. Additionally, pursuant to the Pennsylvania Department of Health’s COVID-19 Early
       Warning Monitoring System Dashboard, there also appears to be a general downward trend
       of COVID-19 cases within Berks County. When comparing the period of June 26 to July 2
       with the period of June 19 to June 25:

      •   the difference of confirmed COVID-19 cases was -8;
      •   the difference of the daily number of COVID-19 cases was -3;
      •   the difference in the average daily number of COVID-19 patients on ventilators was
          -.01; and
      •   the percentage of hospital emergency department visits in the last seven (7) days due to
          COVID-19 like-illness was .6%.

  Enhanced COVID-19 Screening Procedures for BFRC Staff

   26. ICE, ICE Health Service Corps (IHSC), and BFRC staff continue to be subject to daily
       temperature checks prior to the start of each shift.

   27. All staff are also required to undergo a medical screening that requires that they report, prior
       to starting their shift, whether on that day or within the last 24 hours they have had any of the
       following symptoms: fever, felt feverish; repeated shaking with chills; cough; difficulty
       breathing or shortness of breath; headache; new loss of taste or smell; diarrhea; and/or muscle
       pain or sore throat. These same symptoms must also be reported to management if the staff
       member experiences these symptoms while on shift. Additionally, staff members must

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      immediately advise their manager if they have had contact with a person known to be infected
      with COVID-19 or is being tested for COVID-19 based on showing signs and symptoms for
      COVID-19 within the past 14 days.

   28. If a staff member presents with an elevated temperature or has any known symptom(s) for
       COVID-19, he or she is not permitted entry to the BFRC and is immediately sent home. The
       staff member would be required to obtain medical clearance from his or her health care
       provider prior to being allowed to return to work. If a staff member presents with any
       COVID-19 related symptoms during the course of their workday, the aforementioned
       procedure would also apply. Moreover, with either scenario, contact tracing would be
       conducted to determine whether the employee had close contact to any other residents and/or
       staff members at the BFRC, so that additional determinations can be made on potentially
       effected individuals who then will be treated consistent with current CDC guidelines:
       https://www.cdc.gov/coronavirus/2019-ncov/php/contact-tracing/contact-tracing-
       plan/contact-tracing.html.

  Enhanced COVID-19 Screening Procedures for BFRC Residents

   29. As of June 4, 2020, IHSC at the BFRC updated its procedures to require that all incoming
       families be tested for COVID-19, upon consent, during the intake screening process.

   30. During this screening process IHSC medical staff will explain to the family the COVID-19
       testing process (e.g., specimen collection procedure, where the test will be performed) and
       that the family will be placed in cohort for a 14-day period. Cohorting is an infection
       prevention strategy which involves housing detainees together who were exposed or may
       have been exposed to a person with an infectious organism but are asymptomatic. This
       practice lasts for the duration of the incubation period of 14 days, because individuals with
       these and other communicable diseases can be contagious before they develop symptoms and
       can serve as undetected source patients.

   31. The family will be advised that the testing is not mandatory, but that the family will still be
       monitored for signs and symptoms during the 14-day intake cohort process, and that their
       refusal to be tested will be documented in their medical files. If a family refuses to be tested,
       they will be offered testing again while in the 14-day cohort period.

   32. A medical consent form must be signed by all members of the family, except for the minors,
       agreeing to be tested.

   33. If the COVID-19 test results for each family member is negative and they have no COVID-
       19 related signs and symptoms during their 14-day intake cohort period, the family will be
       released to the general population at the end of the 14-day cohort period.

   34. Family members who test positive will be managed as per existing IHSC COVID-19
       guidance, which is derived from the CDC guidelines that can be found here:
       https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/guidance-
       correctional-detention.html.

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   35. Notably, families that test negative for COVID-19 and are still under the 14-day intake cohort
       period will not be cleared to transfer and/or be removed from the United States until the 14-
       day intake cohort period is completed.

   36. This same screening procedure also applies to residents who leave the facility for offsite
       appointments by a local healthcare provider and then return to the BFRC.

   37. The process identified above is to be monitored for effectiveness and compliance on a weekly
       basis by the local Health Services Administrator, Assistant Health Services Administrator
       and Advanced Practice Provider and be tracked in writing.

  Enhanced Social Distancing Protocols

   38. As more fully discussed in my prior declaration, given the limited number of residents at the
       BFRC – presently 16 – there is plenty of space for the residents to engage in social distancing,
       including when residents are in the BFRC’s two main communal living areas or within the
       different recreational rooms within the facility. Significantly, the families have the freedom
       of movement throughout the facility’s recreational spaces from 8 a.m. to 8 p.m. Moreover,
       Children 10 years and older can move freely with their parent’s permission. For adults and
       children 10 years and older (with parental permission), the free movement is also extended to
       the outside campus area.

   39. Social distancing is accomplished through the BFRC staff’s continued communication with
       the residents reminding them to social distance, as well as through signs posted throughout
       the facility in the residents’ native languages discussing the need and way to socially distance
       from each other. Additionally, group activities have been canceled unless social distancing
       may be accomplished.

   40. During mealtimes, the families’ entry into the dining hall is staggered and each family (of
       which there are currently five (5)) is required to sit at their own table and six (6) feet apart
       from the other families. Residents and families that are in cohort status have their meals
       personally delivered to them and are not comingled with other residents.

   41. Likewise, the use of shared bathroom and shower facilities is staggered to ensure only one
       family’s use at a time. Additionally, residents in cohort status do not share the same showers
       as those residents in general population. Shower facilities are cleaned after each use by a
       resident who is in cohort status.

   42. To date, there have been no complaints by the residents to BFRC or ICE staff regarding their
       inability to engage in social distancing while at the BFRC.




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  Enhanced Requirement for the Use of Masks/Face Coverings

   43. Consistent with Dr. Levine’s July 1, 2020 Order directing the universal wearing of face
       coverings, all residents and staff at the BFRC are required to wear a face covering, defined as
       “a covering of the nose and mouth that is secured to the head with ties, straps, or loops over
       the ears or is wrapped around the lower face.” Additionally, BFRC staff continue to be bound
       by prior guidance issued by Berks County on April 7, 2020, which directed that all Berks
       County employees wear face masks while working.

   44. Additionally, on July 6, 2020, I informed the BFRC’s Executive Director both orally and in
       writing of the BFRC’s continued obligation to ensure the wearing of masks or face coverings
       among its staff and the residents. Director Edwards has reinforced this standard with her staff.
       Significantly, both the BFRC staff and residents have been following the wearing of face
       masks.

   45. The BFRC staff will also conduct additional one-on-one training with each family each
       month, effective immediately, explaining the importance of wearing a mask, how to wear a
       mask, and how to request for additional masks. The families will be encouraged to ask
       questions so to ensure their full understanding. IHSC medical staff will also conduct
       additional one-on-one training with each family weekly, effective immediately, explaining
       the importance of wearing a mask, how to wear a mask, and how to request for additional
       masks. The families will be encouraged to ask questions so to ensure their full understanding.

   46. BFRC residents will also be informed of the availability of additional masks when provided
       new disposable masks each Tuesday. The families will be encouraged to ask questions so to
       ensure their full understanding.

   47. The BFRC, in coordination with ICE, is also in the process of enhancing their accounting
       procedures to better document, among other things, when masks are issued to the residents
       and whether instructions regarding the use and request of additional masks have been
       provided to the residents. The goal is to have this updated accounting system in place the
       week of July 13, 2020.

  The BFRC’s Educational Program

   48. The BFRC resumed its educational program as of July 7, 2020. Only two (2) of the 7 children
       at the BFRC are presently eligible and of age to attend school. They are ages 11 and 5. There
       are two (2) additional school aged children (ages 5 and 14) who were admitted to the BFRC
       on July 7, 2020 but will not begin to attend classes until they complete the 14-day intake
       cohort period.

   49. All school aged children will receive age-appropriate one-on-one instruction by a bilingual
       teacher, who is certified to teach in Pennsylvania and who has completed “English as a
       Second Language” certification programs. The information taught to the students follows the
       Pennsylvania Board of Education curriculum and guidelines.


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   50. The schedule for the two children currently eligible to attend school is as follows:

       •   The 11-year-old attends class from 9:00 a.m. to 10:30 a.m., Tuesday through Thursday
           each week.
       •   The 5-year-old attends class from 10:45 a.m. to 11:45 a.m., Tuesday through Thursday
           each week.

   51. The COVID-19 protocols within the BFRC will continue to be practiced in the classroom
       each day. For example, after each student’s educational session is completed, the classroom
       is thoroughly cleaned by BFRC staff, with emphasis on surfaces, high touchpoint areas and
       implements used. Additionally, and consistent with Dr. Levine’s July 1, 2020 Order, both
       the students and teachers are required to wear a face covering during school, since students
       and staff are considered to members of the public who are congregating in indoor locations.
       There are limited exceptions to the face covering requirement while in school. Specifically,
       students may remove their face coverings when eating or drinking when spaced at least six
       (6) feet apart; when seated at desks or assigned workspaces that are at least six (6) feet apart;
       or when engaged in any activity where the students can be at least six (6) feet apart.


  Executed on this 8th day of July, 2020.



  __________________________________
  Christopher George
  Assistant Field Office Director (AFOD)
  Enforcement and Removal Operations – Philadelphia Office
  U.S. Immigration and Customs Enforcement
  U.S. Department of Homeland Security




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                         RESPONDENTS' EXHIBIT 2
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  O.M.G., et al.,                               )
                                                )
          Petitioners,                          )
                                                )
  v.                                            )               Case No. 1:20-cv-00786-JEB
                                                )
  Chad F. Wolf, Acting Secretary of             )
  the U.S. Department of Homeland               )
  Security, et al.,                             )
                                                )
          Respondents.                          )
                                                )


                            DECLARATION OF RICHARD M. HUNT

            I, Richard M. Hunt, pursuant to 28 U.S.C. § 1746, under penalty of perjury, and based

  upon personal knowledge and information made known to me from official records and

  reasonably relied upon in the course of my employment, hereby make the following declaration

  with respect to the above-captioned matter.

  1. I am an Assistant Field Office Director (AFOD) for the U.S. Department of Homeland

       Security (DHS), U.S. Immigration and Customs Enforcement (ICE), Enforcement and

       Removal Operations (ERO) – San Antonio Office. I began my employment with ICE in

       April 2007, as a Deportation Officer and Supervisory Detention and Deportation Officer. I

       have held my current position as an AFOD, since August 2018. As part of my current duties,

       I oversee the day-to-day operations relating to the case management of aliens detained at the

       South Texas Family Residential Center (STFRC), located in Dilley, Texas.

  2. As of July 7, 2020, STFRC has a total of 174 residents, 75 adults and 99 juveniles. Of the

       current population, 19 residents are new intake, having nine days or less in custody.



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  3. Since June 4, 2020, all new intakes at STFRC are tested for COVID-19 during the initial

     intake process using LabCorp, SARS-CoV-2 testing.

  4. STFRC has five neighborhoods that house residents. Each neighborhood has 480 beds. New

     intake families are housed in the Blue Butterfly neighborhood for a 14-day observation

     period before entering the general population. If a resident, who is part of a family unit, tests

     positive for COVID-19 and shows symptoms, the whole family unit is housed in the medical

     housing unit in a negative pressure room and treated for the virus accordingly. If a resident,

     who is part of a family unit, tests positive for COVID-19 but is asymptomatic, the whole

     family unit is housed in the medical housing unit, in a standard room, and monitored

     regularly to identify any symptoms or complications. If space were to run out in the medical

     housing unit, the Blue Butterfly neighborhood would be used as overflow housing, given that

     there is a medical annex in that complex. All residents who test positive are retested per

     medical protocol and released into general population once they have tested negative and are

     asymptomatic.

  5. At STFRC, it is the employees’ responsibility to get tested outside of the facility (since ICE

     Health Services Corps [IHSC] only tests residents) if they feel ill. ICE headquarters senior

     leadership has emailed out guidance, and local STFRC leadership have briefed staff on CDC

     guidance, COVID signs and symptoms, social distancing, mask wearing and universal

     precautions and testing locations.

  6. If an employee (contractor or government) gets tested for COVID-19 and receives a positive

     result, the employee is placed in a non-work status. The employee is interviewed for contact

     tracing to identify their last day of work, any employee contact, and any resident contact.

     Other information is gathered including, but not limited to: symptoms the employee is



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     experiencing, how the employee may have contracted the virus (community spread, close

     contact with a sick family member, etc.), reason for testing, and the employee’s current status

     (hospitalized, at home/self-quarantine, etc.). A review of the facility’s closed-circuit camera

     system is conducted to identify any additional resident or staff contact that may have

     occurred in addition to the contact identified during the interview. A deep clean of all areas

     with which the employee had contact is conducted. The employee must provide medical

     clearance prior to returning to work (i.e., doctor’s note, proof of negative test result). As an

     additional precautionary measure, government employees are placed on telework status for

     an additional week after medical clearance, to allow for a full recovery and to ensure the

     employee is asymptomatic prior to their return to duty.

  7. If a person is identified (via contact tracing, video review, or self-identified) to have been in

     contact with a person who has tested positive, the following steps are taken:

     •   Government employee – a government employee who has been identified as having close

         contact with an infected person, but who has no COVID-19 symptoms, is placed on

         telework status for-14 days to monitor for symptoms. The employee’s supervisor

         conducts daily status checks with the employee. If the employee remains without

         symptoms during the 14-day period, the employee is allowed to return to their regular

         work schedule.

     •   Contract employee – a contract employee who has been identified as having close contact

         with an infected person is placed on leave status for a minimum of 5 days to monitor for

         symptoms. Human Resources makes contact with that employee after 5 days and verifies

         whether the employee is symptomatic or asymptomatic. If the employee is symptomatic,

         the employee remains on leave status until they provide medical clearance to return to


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          work. If the employee is asymptomatic, the employee is allowed to return to work on

          their regularly scheduled days.1

      •   Resident – a resident who has been identified as having close contact with an infected

          person is placed under observation in the Blue Butterfly neighborhood for 14 days to

          monitor for symptoms. STFRC has a staffed medical office in the Blue Butterfly

          neighborhood.

  8. All residents are screened by IHSC medical staff for any chronic care illnesses upon intake.

      All residents with risk factors (Fraihat) are identified in EARM with a Risk Factor alert

      code. All cases involving risk factors are reviewed and evaluated for possible release based

      on vulnerabilities.

  9. The following are additional measures being taken at STFRC to protect residents and staff:

      •   The policy of seating one family per table in the dining facility is strictly enforced.

      •   Staff who are found not to be wearing masks in the facility are counseled and disciplined.

      •   Residents are issued two cloth masks and additional surgical masks and they are required

          to wear a mask at all times while outside of their suites.

      •   STFRC has increased resident education on the proper use of PPE and universal

          precautions. Education is provided to the residents regarding masking, as well as proper



  1
    The contractors’ policy requires that those employees who return to work after five days without symptoms must
  submit to heightened screening procedures and increased PPE, must be assigned to posts that allow for social
  distancing from other staff and detainees, must wear masks, and are subject to mandatory requirement of self-
  monitoring of symptoms and increased sanitization of workspace. This is consistent with the April 20, 2020, U.S.
  Centers for Disease Control and Prevention, Implementing Safety Practices for Critical Infrastructure Workers Who
  May Have Had Exposure to a Person with Suspected or Confirmed COVID-19, available at
  https://www.cdc.gov/coronavirus/2019-ncov/community/critical-workers/implementing-safety-practices.html (“To
  ensure continuity of operations of essential functions, CDC advises that critical infrastructure workers may be
  permitted to continue work following potential exposure to COVID-19, provided they remain asymptomatic and
  additional precautions are implemented to protect them and the community.”)
  .


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         hand washing. This education is covered in town halls, posted throughout the facility,

         and played on a dedicated channel on all TVs. Residents identified as not consistently

         wearing masks are provided increased education on universal precautions.

     •   Increased signage is maintained around the facility regarding the proper CDC guidance,

         PPE, Universal Precautions; to provide further information as to how to avoid exposure.

         Signs are posted in Spanish and English throughout the entire facility. Additionally, the

         CDC handwashing and universal precaution videos are played on a constant loop in a

         dedicated television channel in both languages.

     •   CDC guidelines have been implemented throughout the facility to include: limited

         movement, issuance of PPE, hand sanitizing stations, and educational materials posted

         throughout facility, as discussed in prior declarations filed with this Court.

     •   All residents are currently housed one family per room to limit exposure to other

         residents.

     •   During the 14-day observation period, only one family is allowed outside of their suite at

         a time to limit exposure to other residents.

     •   All employees must: complete the Employee Wellness Screening (including temperature

         checks) each day prior to work, wear a face mask at all times while working within the

         facility, and practice social distancing.

     •   All residents who leave the facility for off-site medical appointments are required to

         fulfill a 14-day observation period in Blue Butterfly neighborhood, upon their return.

     •   All employees at STFRC are encouraged to stay home and get tested if they feel ill.

     •    Employee reporting of positive tests is strictly enforced.




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  10. Since the beginning of the pandemic, there have been 11 contract employees and 3

     government employees who have tested positive for COVID-19. These cases have had

     extensive contact tracing and video review, resulting in extremely limited resident contact. 5

     residents were sent to observation for 14 days and tested negative for the virus. No residents

     have fallen ill due to these cases.

  11. STFRC conducted saturation testing on June 23/24, 2020. All residents already at the facility

     (meaning they were not new intakes) tested negative for the COVID-19 virus. To date,

     STFRC has zero COVID-19 -cases among the resident population due to the thorough and

     cautious actions taken to prevent the spread of COVID 19 at the facility.



  Executed this 9th day of July, 2020.




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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


    PETER O. C.,                                             Civil Action No. 20-4622 (SDW)

                   Petitioner,

            v.                                                           OPINION

    JOHN TSOUKARIS, et al.,

                   Respondents.


   WIGENTON, District Judge:

          Presently before the Court is the petition for a writ of habeas corpus of Petitioner, Peter O.

   C., filed pursuant to 28 U.S.C. § 2241. (ECF No. 1). Also before the Court is Petitioner’s motion

   seeking a temporary restraining order.       (ECF No. 3).      Following an order to answer, the

   Government filed responses to the petition and motion (ECF No. 7), to which Petitioner has

   replied. (ECF No. 9). For the following reasons, this Court will deny the petition without prejudice

   and will deny the motion as moot in light of the denial of Petitioner’s habeas petition.



   I. BACKGROUND

          Petitioner is a native and citizen of Ghana who was admitted to the United States for a

   period not to exceed six months in May 2014. (Document 6 attached to ECF No. 7 at 6). Petitioner

   overstayed his visa, however, and illegally remained in the United States after its expiration. (Id.).

   Petitioner was thereafter convicted of receiving stolen property with a value of more than $75,000

   on August 15, 2018. (Id.). Petitioner was sentenced to seven years imprisonment as a result. (Id.).

   On January 23, 2020, Petitioner was taken into immigration custody and placed in removal

   proceedings based on his criminal history and overstay. (Id. at 3-9). Petitioner has been detained
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   pursuant to the Government’s mandatory detention authority under 8 U.S.C. § 1226(a) since that

   time. (Id. at 11). Petitioner suffers from hypertension and obesity, both of which he, through his

   medical expert, contends place him at risk of severe complications were he to become infected

   with COVID-19. (See Document 8 attached to ECF No. 9). Petitioner’s hypertension is being

   treated, however, at the facility – by the admission of Petitioner’s own expert, he has been treated

   at least twice for that issue during the month of April, during which he was provided medication

   and was seen by medical staff including a doctor.1 (Id.).



   II. DISCUSSION

   A. Legal Standard

           Under 28 U.S.C. § 2241(c), habeas relief may be extended to a prisoner only when he “is

   in custody in violation of the Constitution or laws or treaties of the United States.” 28 U.S.C. §

   2241(c)(3). A federal court has jurisdiction over such a petition if the petitioner is “in custody”

   and the custody is allegedly “in violation of the Constitution or laws or treaties of the United

   States.” 28 U.S.C. § 2241(c)(3); Maleng v. Cook, 490 U.S. 488, 490 (1989). As Petitioner is

   currently detained within this Court’s jurisdiction, by a custodian within the Court’s jurisdiction,

   and asserts that his continued detention violates due process, this Court has jurisdiction over his

   claims. Spencer v. Kemna, 523 U.S. 1, 7 (1998); Braden v. 30th Judicial Circuit Court, 410 U.S.

   484, 494-95, 500 (1973); see also Zadvydas v. Davis, 533 U.S. 678, 699 (2001).



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     Petitioner’s medical expert does contend that the treatment may not have been sufficient, or that
   the jail’s medical staff may not have done enough diagnostic work on Petitioner during these sick
   visits. (Document 8 attached to ECF No. 9 at 4). The expert makes these inferences, however,
   largely based on what is not stated in the brief notes contained in Petitioner’s medical records, and
   his assumption that Petitioner’s vital signs were not checked because it is not explicitly noted in
   Petitioner’s chart, as well as the expert’s unfamiliarity with a term used by jail medical staff. (Id.).
   The record of this matter is at best unclear whether Petitioner’s expert’s inferences are accurate.
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   B. Analysis

          In his habeas petition and briefing in this matter, Petitioner argues that he should be

   released from prison because he has been subjected to punitive conditions of confinement and has

   received insufficient medical care in light of his medical history and the threat posed by the

   COVID-19 epidemic. As this Court recently explained, assuming the COVID-19 pandemic is a

   sufficiently severe circumstance that would warrant permitting a habeas claim based upon

   Petitioner’s conditions of confinement, claims such as Petitioner’s

                  could be construed in two fashions – as a claim asserting that the jail
                  has been deliberately indifferent to Petitioner’s medical needs, or as
                  a claim asserting that the conditions under which he is detained
                  amount to an unconstitutional application of punishment without a
                  supporting conviction in violation of the Due Process Clause. As
                  there is no clear guidance from the Courts of Appeals or Supreme
                  Court on how to adjudicate such claims in light of an ongoing
                  pandemic, many courts have found that insufficient jail action in
                  light of the virus can serve as a basis for release under [the
                  circumstances], see, e.g,, Rafael L.O. v. Decker, No. 20-3481, 2020
                  WL 1808843 (D.N.J. Apr. 9, 2020); Cristian A.R. v. Thomas
                  Decker, et al., No. 20-3600 (D.N.J. Apr. 12, 2020); Basank v.
                  Decker, No. 20-2518, 2020 WL 1481503 (S.D.N.Y. Mar. 26, 2020);
                  Castillo v. Barr, No. 20-00605, 2020 WL 1502864 (C.D. Cal. Mar.
                  27, 2020); Thakker v. Doll, No. 20-480, 2020 WL 1671563 (M.D.
                  Pa. Mar. 31, 2020); Malam v. Adducci, No. 20-10829, 2020 WL
                  1672662 (E.D. Mich. Apr. 5, 2020); while many others have found
                  that, where the jail takes adequate precautions in light of a given
                  petitioner’s medical history, no such relief is warranted. See, e.g.,
                  Dawson v. Asher, No. 20-409, 2020 WL 1304557 (W.D. Wa. Mar.
                  19, 2020) (rejecting TRO request because detainees could not
                  succeed on merits of request for relief without at least showing
                  concrete likelihood of actual injury as opposed to mere speculation
                  in light of the legitimate governmental interest in detaining aliens
                  throughout removal proceedings); Sacal-Micha v. Longoria, No.
                  20-37, 2020 WL 1518861 (S.D. Tex. Mar. 27, 2020) (rejecting
                  habeas TRO based on medical conditions of confinement claim as
                  that claim normally must be brought under § 1983, and in any event
                  such a claim is not likely to succeed in the absence of a showing of
                  deliberate indifference to the detainees medical needs); Lopez v.
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                Lowe, No. 20-563, 2020 WL 1689874 (M.D. Pa. Apr. 7, 2020)
                (denying request for TRO by habeas petitioner as he could not
                establish deliberate indifference to his medical needs).

                         Turning first to the issue of Petitioner’s medical needs, for
                an immigration detainee to make out a claim for relief based on a
                jail official’s insufficient treatment or deliberate indifference to his
                medical needs under the Due Process Clause, he must show both
                that he is subject to a sufficiently serious medical need, and that jail
                officials have been deliberately indifferent to that need. See, e.g.,
                Natale v. Camden Cnty. Corr. Facility, 318 F.3d 575, 581-82 (3d
                Cir. 2003); Parkell v. Morgan, 682 F. App’x 155, 159-60 (3d Cir.
                2017); King v. Cnty. of Gloucester, 302 F. App’x 92, 96 (3d Cir.
                2008). Even assuming that [the threat of] COVID-19 in and of itself
                is a sufficiently serious need, or that Petitioner’s [asthma] is
                sufficiently serious to oblige the jail to take action to alleviate the
                risk presented by the virus, success on such a claim would still
                require Petitioner to show that officials at the jail were deliberately
                indifferent to that need – i.e. that Respondents “kn[e]w of and
                disregard[ed] an excessive risk to inmate health or safety.” Natale,
                318 F.3d at 582 (quoting Farmer v. Brennan, 511 U.S. 825, 837
                (1994)). This requires that the [respondent] was “both [] aware of
                facts from which the inference could be drawn that a substantial risk
                of serious harm exists and . . . dr[e]w th[at] inference.” Id. Where
                some treatment or proscriptive action designed to alleviate the
                medical need has been provided and the dispute is over the adequacy
                of the treatment or preventative steps taken, federal courts “are
                generally reluctant to second guess medical judgments and to
                constitutionalize claims which sound in state tort law.’” Everett v.
                Nort, 547 F. App’x 117, 121 (3d Cir. 2013) (quoting United States
                ex rel. Walker v. Fayette Cnty., 599 F.2d 573, 575 n. 2 (3d Cir.
                1979)).       Neither a detainee’s subjective dissatisfaction or
                disagreement with the professional judgment of medical staff as to
                how best to deal with a medical issue are normally sufficient to
                establish deliberate indifference. Hairston v. Director Bureau of
                Prisons, 563 F. App’x 893, 895 (3d Cir. 2014); White v. Napolean,
                897 F.2d 103, 110 (3d Cir. 1990); Andrews v. Camden Cnty., 95 F.
                Supp. 2d 217, 228 (D.N.J. 2000).

                ....

                        . . . A claim challenging conditions [of confinement] under
                the Due Process Clause [under the theory that those conditions
                amount to punishment in the absence of a supporting conviction in
                turn] has both a subjective and objective component – the objective
                component requiring a showing that the deprivation involved in the
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                  conditions was sufficiently serious, and the subjective component
                  requiring that jail officials act with a sufficiently culpable mind.
                  [Stevenson v. Carroll, 495 F.3d 62, 68 (3d Cir. 2007) (citing Bell v.
                  Wolfish, 441 U.S. 520, 535-36 (1979))]. The subjective component
                  can be established by showing an express intent to punish; or by
                  showing that the conditions in question were arbitrary, purposeless,
                  or excessive in relation to the ascribed governmental objective. Id.
                  Conditions which are reasonably related to a legitimate government
                  interest and which are not excessive in relationship to that interest
                  will therefore not support a claim in the absence of a showing of an
                  express intent to punish. Id. at 67-69. . . . [I]mmigration detention
                  is clearly reasonably related to a legitimate government interest –
                  the Government’s interest in securing those subject to removal
                  proceedings pending the conclusion of those proceedings in order to
                  ensure they do not abscond and that they attend those proceedings
                  while also ensuring they are not a danger to the community in the
                  meantime. See, Dawson, 2020 WL 1304557 at *2; see also
                  Jennings, 138 S. Ct. at 836; Demore v. Kim, 538 U.S. 510, 523
                  (2003); Zadvydas, 533 U.S. at 690-91.

   Jorge V.S. v. Green, No. 20-3675, 2020 WL 1921936, at *2-4 (D.N.J. Apr. 21, 2020).

          In this matter, Petitioner is detained pursuant to the Government’s mandatory detention

   authority pursuant to 8 U.S.C. § 1226(c), which applies to aliens such as Petitioner who have

   qualifying convictions. As the Supreme Court has held, mandatory detention under § 1226(c)

   “serves the purpose of preventing deportable criminal aliens from fleeing prior to or during their

   removal proceedings,” an interest that the Court went to considerable lengths was compelling and

   a more than adequate basis for mandatory detention throughout the pendency of those proceedings.

   See Demore, 538 U.S. at 518-28. Both the Third Circuit and this Court have further recognized

   that the statute further serves the purpose of ensuring that criminal aliens do not present a danger

   to the community while they are in removal proceedings. See, e.g., Chavez-Alvarez v. Warden

   York County Prison, 783 F.3d 469 (3d Cir. 2015); Dryden v. Green, 321 F. Supp. 3d 496, 502

   (D.N.J. 2018). Indeed, these interests are so compelling that this Court has recognized that the

   statute will ordinarily support continued detention without so much as a bond hearing for well over
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   a year. Id. There is thus no question that detention under the statute both serves a legitimate

   government interest.

          Turning to the conditions of confinement, it is clear that the jail in which Petitioner is

   detained has taken numerous concrete steps to alleviate and mitigate the risk COVID-19 presents

   to its inmate population. The jail has increased the availability of medical staff; insured nurses,

   practitioners, and doctors are always either on hand or on call at all times; limited or eliminated

   entrance into the facility of outside vendors, volunteers, and visitors; has required medical

   screenings for all incoming detainees and staff members including temperature checks upon

   arrival; begun the daily monitoring and separate housing of those detainees who suffer from health

   conditions putting them at high risk under CDC guidelines; established a quarantine area for those

   who become infected; increased supplies on site including cleaning supplies and COVID-19

   testing kits; increased cleaning staff and has begun sanitizing and cleaning housing units “no less

   than three times per day;” provided “unlimited” soap and water access for all detainees and

   provided disinfectant spray upon request under the supervision of jail staff; begun placing new

   arrivals in quarantine for fourteen days before placing them in general population; provided masks,

   gloves, and full protective equipment to jail staff; and has begun rolling out “rapid COVID-19

   testing for its entire population” to support the jail’s quarantine and containment strategy.

   (Document 5 attached to ECF No. 7 at 1-14). The jail has also put into place policies for handling

   infected inmates including immediate medical evaluations for those showing symptoms, providing

   daily sick calls to detainees, providing surgical masks to those with signs or symptoms of

   respiratory illness, full testing at University Hospital for any detainee who shows moderate to

   severe symptoms, the quarantining of those who show even mild symptoms, and the isolation of

   detainees who have tested positive for the virus. (Id. at 8-10). Where warranted, antiviral
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   medications are provided, and regardless of the need for medications, those who test positive or

   show even mild symptoms are quarantined for fourteen days in single occupancy cells “to ensure

   social distancing.” (Id. at 9-10). All of these measures taken to limit or alleviate the effects of

   COVID-19 on the jail population clearly show that the conditions to which Petitioner has been

   subjected are not excessive in relation to the Government’s interest in detaining criminal aliens,

   and that the conditions under which Petitioner has been confined are instead rationally related to a

   legitimate government interest and therefore pass constitutional muster. As Petitioner has not

   otherwise shown any express intent to punish him, Petitioner’s conditions of confinement claim

   thus fails.

           Petitioner’s claim fairs no better when treated as a direct medical claim. Both the concrete

   steps outlined above and the specific treatment and medication Petitioner has received indicate

   that the jail staff have not been deliberately indifferent to his needs, but have instead taken steps

   to protect him and have treated his medical issues when he has brought them to the attention of the

   medical staff. The disagreement with the treatment he received expressed by Petitioner’s medical

   expert is insufficient to raise Petitioner’s dispute to the level of a constitutional violation, White v.

   Napolean, 897 F.2d at 110, and is patently insufficient to warrant the extreme form of relief

   Petitioner requests in light of Petitioner’s criminal history, the treatment Petitioner has received,

   and the concrete steps the jail has taken to protect Petitioner. V.S., 2020 WL 1921936 at *3 (“That

   these steps do not guarantee Petitioner will remain healthy and free of the disease is immaterial,

   the constitution requires no such perfection.”); see also Sacal-Micha; 2020 WL 1518861 at *6.

   As this Court finds that Petitioner has neither shown that jail staff have been deliberately

   indifferent to his medical needs, nor that he has been subjected to unconstitutional conditions of
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   confinement, Petitioner’s habeas petition is denied, and Petitioner’s motion seeking a temporary

   restraining order is denied as moot in light of the denial of this matter.



   III. CONCLUSION

          For the reasons expressed above, Petitioner’s habeas petition (ECF No. 1) is DENIED

   WITHOUT PREJUDICE and his motion seeking a temporary restraining order (ECF No. 3) is

   DENIED as moot in light of the denial of his habeas petition. An appropriate order follows.



   Dated: May 7, 2020                                     s/Susan D. Wigenton
                                                          Hon. Susan D. Wigenton,
                                                          United States District Judge
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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
   ______________________________________________________________________

   MOHAMAD AHMAD MURAI,

                        Petitioner,
   v.
                                                            Case No. 20-10816
   REBECCA ADDUCCI,
   MATTHEW T. ALBENCE,
   KEVIN MCALEENAN, and
   WILLIAM P. BARR,

                   Respondents.
   ________________________________/

         ORDER DENYING WITHOUT PREJUDICE PETITIONER’S MOTION FOR
                     TEMPORARY RESTRAINING ORDER

          On March 27, 2020, Petitioner Mohamad Ahmad Murai filed a petition for writ of

   habeas corpus under 28 U.S.C. § 2241. (ECF No. 1.) Petitioner is currently detained by

   the United States Immigration Customs and Enforcement Agency at the Calhoun

   County Detention Center in Battle Creek, Michigan. He alleges that the current threat of

   infection from the COVID-19 virus and the potential for serious medical complications

   while in confinement pose an ongoing and unjustifiable risk to Petitioner’s health,

   violating Petitioner’s Fifth Amendment right to due process. The court is asked to grant

   injunctive relief, releasing Petitioner from detention, as well as to award attorney fees.

          On April 13, 2020, Petitioner filed a motion for a temporary restraining order

   (“TRO”), seeking immediate release from detention. (ECF No. 5.) The stringent

   requirements for issuance of a TRO under Federal Rule of Civil Procedure 65(b) signify

   that TROs are extraordinary remedies that “run[] counter to the notion of court action

   taken before reasonable notice and opportunity to be heard has been granted to both
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   sides of a dispute.” Granny Goose Foods v. Brotherhood of Teamsters, 415 U.S. 423,

   439 (1974). Petitioner must “clearly show that immediate and irreparable injury, loss, or

   damage will result . . . before [Respondents] can be heard in opposition.” Fed. R. Civ. P.

   65(b)(1)(A). Specifically, the court must consider four factors: “(1) [W]hether the movant

   has a strong likelihood of success on the merits, (2) whether the movant would suffer

   irreparable injury absent a stay, (3) whether granting the [relief] would cause substantial

   harm to others, and (4) whether the public interest would be served by granting the

   [relief].” Ohio Republican Party v. Brunner, 543 F.3d 357, 361 (6th Cir. 2008) (quoting

   Ne. Ohio Coal. for Homeless and Serv. Emps. Int’l Union v. Blackwell, 467 F.3d 999,

   1009 (6th Cir. 2006)). Petitioner’s attorney must also “certif[y] in writing any efforts made

   to give notice and the reasons why it should not be required.” Fed. R. Civ. P.

   65(b)(1)(B).

          A temporary restraining order is not warranted at this time. Petitioner has not

   demonstrated that the risk to his health is immediate and irreparable. He argues that a

   portion of the detainees at his facility are in “lockdown,” some detainees are “visibly ill,”

   one detainee was brought to his facility after “coughing and [having] a fever.” (ECF No.

   5, PageID.265.) However, the tendered speculation as to what conditions other

   detainees may have, particularly whether those detainees have contracted COVID-19,

   in a correctional facility with no confirmed cases of COVID-19, does not constitute an

   sufficiently clear basis to find an immediate threat warranting the extreme remedy of an

   affirmative injunction without the benefit of a government response.

          This is especially important where Respondents appear capable of explaining the

   precautions being taken to mitigate the threat of COVID-19. For instance, Petitioner


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   does not detail whether any individual detainee with a cough and fever has been

   quarantined; the court is left to guess. Petitioner also asserts that “new detainees arrive

   almost daily,” but does not describe whether or not they are screened, tested, or

   quarantined upon arrival. (ECF No. 5, PageID.265.)

          Petitioner argues that tight quarters in any place of confinement and shared

   facilities with other detainees will ensure Petitioner contracts COVID-19. (Id.,

   PageID.276 (emphasis added) (“[T]here are no detention conditions that can adequately

   or constitutionally house [Petitioner].”).) The argument, at least this portion of it, proves

   too much. No place of confinement can properly hold Petitioner or those resembling

   him, Petitioner says, and the doors of confinement must therefore swing open. This is

   excessively conjectural to support the issuance of a TRO. Based on the evidence

   currently presented, the court is not convinced any and all confinement conditions will

   immediately and “without loss of time” cause Petitioner to suffer a serious case of

   COVID-19. Fed. R. Civ. P. 65(b)(1)(A); Brunner, 543 F.3d at 361; Immediate, Webster’s

   Third International Dictionary, Unabridged (2020) (“[O]ccurring, acting, or accomplished

   without loss of time: made or done at once.”).

          Additionally, the court observes that Petitioner filed his habeas petition on March

   27, but did not seek a TRO until April 13. Petitioner during those seventeen days

   attempted to follow the normal process of adversarial litigation by serving Respondents

   and allowing them to respond. For those two weeks, Petitioner gave at least an

   appearance of controlled concern relative to the evolving threat from COVID-19.

          This is also significant because Petitioner has yet to properly serve Respondents.

   Petitioner’s attorney filed a declaration indicating that Petitioner’s habeas petition was


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   mailed to the U.S. Attorney for the Eastern District of Michigan after discovering the

   U.S. Attorney’s office was closed. (ECF No. 3-1, PageID.203-04, ¶¶ 4, 6.) However,

   there are no allegations or evidence that the petition and summons have been mailed to

   the U.S. Attorney General or the government officials named as respondents in this suit,

   as is required by Federal Rule of Civil Procedure Rule 4(i)(2).

          Petitioner’s attorney must “certif[y] in writing any efforts made to give

   [Respondents] notice” and explain why notice should not be required. Fed. R. Civ. P.

   65(b)(1)(B). Petitioner’s attorney has stated “Respondents’ offices were closed” and she

   has not received “respon[ses] to inquiries by phone and email.” (ECF No. 5,

   PageID.253-54.) Counsel has not detailed whether the offices, phone numbers, and

   emails referenced are those of the U.S. Attorney’s or that of Respondents and the U.S.

   Attorney General, neither of which apparently have been served. Petitioner’s attorney

   did not provide a written explanation for why notice should not be required. Fed. R. Civ.

   P. 65(b)(1)(B). Without providing Respondents with service, reasonable notice, or an

   opportunity to respond, the court finds an injunction unwarranted.

          Based on the information currently presented, the court will deny Petitioner’s

   motion for a TRO. The court will issue an order requiring Respondents to file an

   expedited response to the petition after being served. Accordingly,

          IT IS ORDERED that Petitioner’s “Emergency Motion for Temporary Restraining

   Order” (ECF No. 5) is DENIED WITHOUT PREJUDICE.

                                                     s/Robert H. Cleland                       /
                                                     ROBERT H. CLELAND
                                                     UNITED STATES DISTRICT JUDGE
   Dated: April 16, 2020



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   I hereby certify that a copy of the foregoing document was mailed to counsel of record
   on this date, April 16, 2020, by electronic and/or ordinary mail.

                                                              s/Lisa Wagner                   /
                                                              Case Manager and Deputy Clerk
                                                              (810) 292-6522
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

   KANAT UMARBAEV,                               :
       Petitioner                                :
                                                 :               No. 1:20-cv-00413
          v.                                     :
                                                 :               (Judge Kane)
   WARDEN CRAIG A. LOWE                          :
       Respondent                                :

                                        MEMORANDUM

          Petitioner Kanat Umarbaev (“Petitioner”) is currently confined at the Pike County

   Correctional Facility (“PCCF”), a detainee of the United States Department of Homeland

   Security (“DHS”), Immigration and Customs Enforcement (“ICE”). On March 10, 2020,

   Petitioner, then proceeding pro se, initiated the above-captioned action by filing a petition for a

   writ of habeas corpus pursuant to 28 U.S.C. § 2241 (Doc. No. 1), alleging that his continued

   detention by ICE had exceeded constitutional limits. Following an Order to show cause (Doc.

   No. 4), Respondent filed a response, contending that Petitioner’s detention is lawful (Doc. No.

   8). On March 30, 2020, counsel appeared on Petitioner’s behalf. (Doc. No. 7.) On April 6,

   2020, Petitioner filed a traverse supplementing his original § 2241 petition (Doc. No. 9) and a

   motion for expedited consideration and/or an emergency hearing raising an additional claim

   based upon the COVID-19 pandemic (Doc. No. 10). In an Order dated April 7, 2020, the Court

   directed Respondent to file a supplemental response addressing the arguments raised in

   Petitioner’s traverse by 12:00 p.m. on April 8, 2020. (Doc. No. 11.) Respondent has done so.

   (Doc. No. 14.) Petitioner’s § 2241 petition, therefore, is ripe for disposition. The Court will

   grant Petitioner’s motion for expedited consideration (Doc. No. 10) to the extent that this

   Memorandum serves as the Court’s expedited review of Petitioner’s § 2241 petition (Doc. No.

   1). For the reasons set forth below, Petitioner’s § 2241 petition will be denied.
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   I.     BACKGROUND

          A.      Petitioner’s Immigration Proceedings

          Petitioner is a native of the former Union of Soviet Socialist Republics (“USSR”) and a

   citizen of Kyrgyzstan. (Doc. No. 8-1 at 12.) He was admitted to the United States on February

   22, 2000, as a non-immigration visitor for pleasure. (Id.) Petitioner had authorization to remain

   in the United States until August 22, 2000. (Id.) On January 4, 2001, ICE issued a Notice to

   Appear, charging Petitioner with being removable pursuant to § 237(a)(1)(B) of the Immigration

   and Nationality Act (“INA”) because he remained in the United States for a time longer than that

   permitted. (Id.) At a hearing before an immigration judge, Petitioner conceded his removability

   as charged. (Id.)

          Thereafter, Petitioner filed applications for asylum and withholding of removal. (Id. at

   9.) On March 14, 2003, an immigration judge denied Petitioner’s applications for relief and

   ordered him removed to Kyrgyzstan. (Id.) On August 13, 2003, Petitioner was convicted in

   New York of driving while intoxicated (“DWI”). (Id. at 20.) On May 25, 2004, the Board of

   Immigration Appeals (“BIA”) summarily dismissed Petitioner’s appeal from the immigration

   judge’s March 14, 2003 order because Petitioner had failed to file a brief or statement in support

   of his appeal. (Id. at 16.) On June 30, 2004, Petitioner sustained a second DWI conviction in

   New York. (Id. at 20.)

          On August 28, 2019, a DHS Fugitive Operations Team apprehended and detained

   Petitioner. (Id. at 19.) ICE began taking steps to execute Petitioner’s removal order, including

   requesting a travel document from the Embassy of Kyrgyzstan. (Id. at 4.) On October 8, 2019,

   Petitioner filed a motion to reopen his removal proceedings with the BIA. (Doc. No. 9 at 28-46.)

   Petitioner asserted that his recent conversion to Christianity, coupled with current conditions for



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   Christians in Kyrgyzstan, warranted reopening of his proceedings and supported a new

   application for asylum. (Id. at 28.) On December 15, 2019, DHS received a travel document for

   Petitioner from the Embassy of Kyrgyzstan and scheduled Petitioner for removal on January 3,

   2020. (Doc. No. 8-1 at 4.) On January 2, 2020, the BIA denied Petitioner’s request for a stay of

   removal pending consideration of his motion to reopen, stating that there was little likelihood

   that his motion to reopen would be granted. (Id. at 28.)

           On January 3, 2020, DHS transported Petitioner to the John F. Kennedy International

   Airport to place him on a commercial flight to Moscow, Russia, with a connecting flight to

   Bishkek, Kyrgyzstan. (Id. at 5.) That same day, Petitioner filed a petition for review, along with

   an emergency motion for a stay of removal, with the United States Court of Appeals for the

   Second Circuit. (Id. at 30-39.) DHS attempted to place Petitioner on the airplane at the final

   boarding call. (Id. at 5.) Petitioner, however, “actively and physically fail[ed] to comply with

   ICE’s orders by ‘falling on the floor.’” (Id.) The removal attempt “was called off and

   [Petitioner] was removed from the airport and placed in the ICE transport vehicle.” (Id.)

   Moments later, the Second Circuit granted Petitioner’s emergency motion for a stay of removal.

   (Id. at 42.)

           On January 21, 2020, DHS conducted a custody review and determined that Petitioner

   would remain detained pending a decision on his petition for review. (Id. at 44.) The DHS

   observed that Petitioner’s final order of removal had been in effect since May 25, 2004 and that

   Petitioner had been an ICE fugitive from 2004 until 2019. (Id.) DHS also noted that Petitioner

   “ha[s] multiple convictions for driving under the influence.” (Id.) DHS concluded that

   Petitioner posed “a flight risk and a significant public threat.” (Id.)




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          Petitioner filed the instant § 2241 petition on March 10, 2020. (Doc. No. 1.) On March

   16, 2020, an immigration judge conducted a bond hearing for Petitioner pursuant to Guerrero-

   Sanchez v. Warden York County Prison, 905 F.3d 208 (3d Cir. 2018). (Doc. No. 8-1 at 46.) The

   immigration judge denied Petitioner’s request for a custody redetermination, concluding that

   Petitioner “remains a risk of danger to persons and property.” (Id.) On March 24, 2020,

   Petitioner filed a motion for reconsideration of the immigration judge’s decision. (Doc. No. 9 at

   234-40.) That same day, Petitioner, through emails by counsel, requested that ICE release him

   from custody to “seek medical treatment for symptoms that may be related to the coronavirus.”

   (Id. at 244.) Petitioner’s counsel asserted that Petitioner was “experiencing a sore throat,

   shortness of breath[,] and [a] runny nose.” (Id. at 245.) Counsel also noted that Petitioner

   “suffers from high blood pressure, which has not been well controlled during his detention.”

   (Id.) On March 31, 2020, DHS denied Petitioner’s request for release. (Id. at 244.) As of the

   date of this Memorandum and Order, Petitioner’s motion to reopen is still pending before the

   BIA and his petition for review is still pending before the Second Circuit.

          B.      COVID-19 and Conditions at PCCF

          Coronavirus Disease 2019 (COVID-19) “is an infectious disease caused by a newly

   discovered coronavirus.” See Coronavirus Overview, WORLD HEALTH ORGANIZATION,

   https://www.who.int/health-topics/coronavirus#tab=tab_1 (last accessed Apr. 8, 2020). The

   COVID-19 virus “is spreading very easily and sustainably between people.” See How COVID-

   19 Spreads, CENTERS FOR DISEASE CONTROL AND PREVENTION,

   https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-covid-spreads.html (last

   accessed Apr. 8, 2020). “Most people infected with the COVID-19 virus will experience mild to

   moderate respiratory illness and recover without requiring special treatment.” Id. However,



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   some infected individuals will experience severe illness, and certain groups, including “[o]lder

   people[] and those with underlying medical problems like cardiovascular disease, diabetes,

   chronic respiratory disease, and cancer” are at a higher risk of developing serious illness. See id.

   In the past few weeks, governments have imposed policies designed to curb the spread of

   COVID-19. For example, businesses deemed not life sustaining have been closed in

   Pennsylvania since March 21, 2020. See Order of the Governor of the Commonwealth of

   Pennsylvania Regarding the Closure of All Businesses that Are Not Life Sustaining,

   https://www.scribd.com/document/452416027/20200319-TWW-COVID-19-Business-Closure-

   Order (Mar. 19, 2020). Additionally, on April 1, 2020, Governor Wolf issued an order for

   individuals to stay home that applies to the Commonwealth of Pennsylvania in its entirety

   through April 30, 2020. See Order of the Governor of the Commonwealth of Pennsylvania for

   Individuals to Stay at Home, OFFICE OF THE GOVERNOR OF PENNSYLVANIA,

   https://www.governor.pa.gov/wp-content/uploads/2020/04/20200401-GOV-Statewide-Stay-at-

   Home-Order.pdf (Apr. 1, 2020). Since the onset of the pandemic, “ICE epidemiologists have

   been tracking the outbreak, regularly updating infection prevention and control protocols, and

   issuing guidance to field staff on screening and management of potential exposure among

   detainees.” (Doc. No. 14-1 at 4.)

          PCCF “has the capacity to house 375 detainees and has historically often operated near

   capacity.” (Id.) As of April 3, 2020, “there were only 250 combined inmates and detainees

   housed a[t] the facility.” (Id.) Upon admission, each detainee is screened for disabilities. (Id.)

   During “intake medical screenings, detainees are assessed for fever and respiratory illness, are

   asked to confirm if they have had close contact with a person with laboratory-confirmed

   COVID-19 in the past 14 days, and whether they have traveled from or through area(s) with



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   sustained community transmission in the past two weeks.” (Id.) Those who “present symptoms

   compatible with COVID-19 will be placed in isolation, where they will be tested.” (Id.) If a test

   is positive, that inmate remains isolated and treated and, if necessary, is referred to a local

   hospital. (Id.) As of April 4, 2020, four (4) ICE detainees at PCCF have tested positive for

   COVID-19, as have five (5) correctional officers. (Id. at 7.) The detainees are in quarantine

   under medical observation, and the correctional officers are under self-quarantine. (Id.)

           In the case of known exposure to someone who has been confirmed to have COVID-19,

   “asymptomatic detainees are placed in cohorts with restricted movement for the duration of the

   most recent incubation period . . . and are monitored daily for fever and symptoms of respiratory

   illness.” (Id. at 5.) Cohorting “is an infection prevention strategy” that “involves housing

   detainees together who were exposed to a person with an infectious organism but are

   asymptomatic.” (Id.) This practice lasts for fourteen (14) days “because individuals with these

   and other communicable diseases can be contagious before they develop symptoms and can

   serve as undetected source patients.” (Id.) Those who show “onset of fever and/or respiratory

   illness are referred to a medical provider for evaluation.” (Id.) Cohorting “is discontinued when

   the 14-day incubation period completes with no new cases.” (Id.) Pursuant to ICE policy,

   “detainees diagnosed with any communicable disease who require isolation are placed in an

   appropriate setting in accordance with CDC or state and local health department guidelines.”

   (Id.)

           PCCF has “instituted a modified lockdown schedule” in response to COVID-19. (Id. at

   8.) Movement throughout the facility is restricted. (Id.) “Detainees[’] ability to leave their cells

   is staggered in order to promote social distancing.” (Id.) All detainees are required to maintain

   social distancing when not within the same cell, and meals are served to detainees within their



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   cells. (Id.) All staff members are required to wear masks. (Id.) “Daily temperature checks and

   screening for influenza like illness (ILI) symptoms have been implemented for all detainees.”

   (Id.) “If any detainee displays ILI symptoms, they[,] along with any cell mates, are placed in

   quarantine.” (Id.) Staff have also “increased the frequency of cleaning and disinfecting,

   including often used touch surfaces.” (Id.)

          C.      Petitioner’s Recent Medical History

          On April 1, 2020, Petitioner presented to the medical department at PCCF with upper

   respiratory complaints. (Doc. No. 15 at 2.) Medical staff noted that Petitioner was unable to

   take certain medications because of his history of high blood pressure. (Id.) Petitioner was

   prescribed Tylenol, an antihistamine, and cough medication. (Id.) At that time, Petitioner’s

   temperature was 98.3 degrees. (Id. at 8.) Medical staff educated Petitioner on reporting

   worsening symptoms and increasing his fluid intake. (Id. at 2.)

          On April 3, 2020, Petitioner was placed into medical quarantine because of “possible”

   COVID-19 exposure. (Id. at 3.) Medical staff directed that his temperature be checked twice

   daily. (Id.) Any fever reducers were discontinued until the end of the fourteen (14)-day

   quarantine period. (Id.) On April 4, 2020, Petitioner complained that he had a sore throat. (Id.

   at 7.) Staff noted that he already had a cold pack, but that Tylenol and Motrin were unable to be

   used for his unit. (Id.) Petitioner’s temperature on April 4, 2020 was 98.4 degrees at the first

   check and 97.6 at the second check. (Id.) Petitioner has not had a temperature over 98.9 degrees

   through April 7, 2020. (Id. at 5-6.)

   II.    LEGAL STANDARD

          Under 8 U.S.C. § 2241(c), a prisoner or detainee may receive habeas relief only if he “is

   in custody in violation of the Constitution or laws or treaties of the United States.” See 28



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   U.S.C. § 2241(c)(3); see also Maleng v. Cook, 490 U.S. 488, 490 (1989). Because Petitioner is

   currently detained within the jurisdiction of this Court and asserts that his continued detention

   violates due process, this Court has jurisdiction over his § 2241 petition. See Zadvydas v. Davis,

   533 U.S. 678, 699 (2001); Spencer v. Kemna, 523 U.S. 1, 7 (1998).

   III.   DISCUSSION

          In the instant case, the parties do not dispute that Petitioner is currently detained pursuant

   to 8 U.S.C. § 1231(a), which provides for the detention of individuals who are subject to a final

   order of removal. See 8 U.S.C. § 1231(a); cf. Diouf v. Mukasey, 542 F.3d 1222, 1229-30 (9th

   Cir. 2008) (concluding that the alien petitioner was detained under § 1231(a) because his

   pending appeal and stay of removal did not entail judicial review of a removal order but instead

   involved review of the denial of a motion to reopen). That section provides that “[e]xcept as

   otherwise provided in this section, when an alien is ordered removed, the Attorney General shall

   remove the alien from the United States within a period of 90 days.” See 8 U.S.C.

   § 1231(a)(1)(A). During this ninety (90)-day period, “the Attorney General shall detain the

   alien. Under no circumstance during the removal period shall the Attorney General release an

   alien who has been found . . . deportable under section 1227(a)(2).” See id. § 1231(a)(2). After

   the ninety (90)-day period expires, the alien’s detention may continue, or he may be released on

   supervision. See id. § 1231(a)(3), (6).

          The Supreme Court has concluded, however, that § 1231 “limits an alien’s post-removal-

   period detention to a period reasonably necessary to bring about the alien’s removal from the

   United States. It does not permit indefinite detention.” See Zadvydas, 533 U.S. at 698. Thus,

   “[o]nce removal is no longer reasonably foreseeable, continued detention is no longer authorized

   by statute.” See id. at 699. To establish a uniform baseline, the Supreme Court concluded that a



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   period of six (6) months is a “presumptively reasonable period of detention.” See id. at 701.

   Moreover, the United States Court of Appeals for the Third Circuit has concluded that “an alien

   detained under § 1231(a)(6) is generally entitled to a bond hearing after six months (i.e., 180

   days) of custody.” See Guerrero-Sanchez, 905 F.3d at 226. Following such a hearing, the alien

   “is entitled to be released from detention unless the government establishes that the alien poses a

   risk of flight or a danger to the community.” See id. at 224 (quoting Diouf v. Napolitano, 634

   F.3d 1081, 1092 (9th Cir. 2011)). “The Government must meet its burden in such bond hearings

   by clear and convincing evidence.” See id. at 224 n.12.

          As noted supra, Petitioner has been detained pursuant to § 1231(a)(6) since August 28,

   2019. As of the date of this Memorandum, therefore, Petitioner has been detained for over seven

   (7) months, which is beyond the presumptively reasonable six (6)-month period set forth in

   Zadvydas and Guerrero-Sanchez. The parties do not dispute that on March 16, 2020, an

   immigration judge conducted a bond hearing pursuant to Guerrero-Sanchez and concluded that

   Petitioner should remain detained because he “remains a risk of danger to persons and property.”

   (Doc. No. 8-1 at 46.) Petitioner, however, now asserts that he is entitled to habeas relief because:

   (1) the immigration judge violated his right to due process by applying the wrong legal standard,

   failing to afford the procedural safeguards mandated by Guerrero-Sanchez, and misapplying BIA

   precedent; and (2) his detention violates due process because “he is at higher than normal risk of

   serious illness or death if he contracts the COVID-19 virus and DHS is unable to mitigate the

   risk that he will be infected.” (Doc. No. 9 at 22.) The Court considers each argument in turn.

          A.      Review of Petitioner’s March 16, 2020 Custody Determination

          On March 16, 2020, an immigration judge denied Petitioner’s request for a custody

   determination. (Doc. No. 9 at 231.) The immigration judge noted that Petitioner’s request was



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   brought pursuant to 8 C.F.R. § 1236 and denied his request, concluding that Petitioner “remains

   a risk of danger to persons and property.” (Id.) Petitioner now asserts that the immigration

   judge violated his due process rights by applying the wrong legal standard and misapplying BIA

   precedent. (Id. at 10-16.) Respondent asserts that the Court lacks jurisdiction over Petitioner’s

   claim because Petitioner failed to exhaust his administrative remedies. (Doc. No. 14 at 12-13.)

   For the reasons discussed below, the Court agrees with Respondent.

          The Third Circuit has noted that requiring exhaustion of administrative remedies for

   habeas petitions fosters important goals because: “(1) allowing the appropriate agency to develop

   a factual record and apply its expertise facilitates judicial review; (2) permitting agencies to grant

   the relief requested conserves judicial resources; and (3) providing agencies the opportunity to

   correct their own errors fosters administrative autonomy.” See Moscato v. Fed. Bureau of

   Prisons, 98 F.3d 757, 761-62 (3d Cir. 1996). “These very important purposes are frequently

   furthered by requiring aliens who receive a bond hearing before the immigration judge to exhaust

   their administrative remedies and raise any issues with the BIA prior to seeking federal habeas

   corpus relief.” Chajchic v. Rowley, No. 1:17-cv-457, 2017 WL 4401895, at *3 (M.D. Pa. July

   25, 2017), report and recommendation adopted, 2017 WL 4387062 (Oct. 3, 2017). In the instant

   case, the record before the Court reflects that on March 24, 2020, Petitioner filed a motion for

   reconsideration of the immigration judge’s March 16, 2020 order denying his request for bond.

   (Doc. No. 9 at 234-40.) As of the date of this Memorandum and Order, that motion remains

   pending before the immigration judge. Thus, Petitioner’s arguments regarding the alleged

   deficiencies in the immigration judge’s orders have not yet been exhausted at the administrative

   level. Accordingly, to the extent Petitioner requests that the Court review the immigration




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   judge’s March 16, 2020 order denying him bond, the Court lacks jurisdiction to do so at this

   time. 1

             B.     COVID-19 Claim

             Petitioner also maintains that his detention violates due process because he is at

   heightened risk of serious illness or death should he contract the COVID-19 virus. (Doc. No. 9

   at 16-22.) Petitioner suggests that he is particularly unsafe because he is “an older person

   suffering from hypertension, high cholesterol[,] and possible immune compromising anemia.”

   (Id. at 22.) Petitioner seeks immediate release, arguing that “DHS’s inability to protect him and

   failure to release him amount to a life-threatening violation of his constitutional right to due

   process.” (Id. at 22-23.)

             As an initial matter, Respondent asserts that a § 2241 petition is not the proper vehicle for

   Petitioner’s claim, maintaining that such a claim must instead be raised in a civil rights action.

   (Doc. No. 14 at 15-19.) While the issue of whether Petitioner may pursue such a claim in a

   § 2241 petition has not been resolved, the Court will examine his claim in the context of habeas

   corpus because Petitioner is seeking immediate release from confinement based upon the

   COVID-19 pandemic. 2 Nevertheless, for the reasons set forth below, the Court finds that



   1
     In his § 2241 petition, Petitioner suggests that he is entitled to release pursuant to Zadvydas
   because his removal is not reasonably foreseeable. (Doc. No. 1 at 7.) Petitioner, however,
   presents no evidence to support this assertion, and he appears to abandon his Zadvydas claim in
   his traverse. Without any facts or evidence beyond conclusory allegations to support his
   Zadvydas claim, the Court will not grant relief on this ground. Petitioner, however, remains free
   to file a new § 2241 petition challenging his detention should he remain detained after he has
   exhausted his administrative remedies and may raise his Zadvydas claim again at that time.
   2
     The Third Circuit has concluded that a habeas corpus petition is the proper vehicle for
   challenges to “the fact or length of confinement.” See Tedford v. Hepting, 990 F.2d 745, 748
   (3d Cir. 1993) (quoting Preiser v. Rodriguez, 411 U.S 475, 494 (1973)). A habeas petition is
   also the proper vehicle for challenging the “execution” of such confinement. See Woodall v.
   Fed. Bureau of Prisons, 432 F.3d 235, 241-42 (3d Cir 2005). When a petitioner seeks immediate
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   Petitioner has not demonstrated a likelihood of success on the merits for purposes of establishing

   entitlement to the requested injunctive relief. 3 “To establish a likelihood of success on the

   merits, a movant must produce sufficient evidence to satisfy the essential elements of the

   underlying cause of action.” Pa. Prof’l Liab. Joint Underwriting Ass’n v. Wolf, 328 F. Supp. 3d

   400, 407 (M.D. Pa. 2018) (citing Punnett v. Carter, 621 F.2d 578, 582-83 (3d Cir. 1980)). In



   release from custody, the “sole federal remedy” lies in habeas corpus. See Preiser, 411 U.S. at
   500.
           Respondents maintain that while the relief Petitioner requests may sound in habeas, his
   claim regarding unconstitutional conditions of confinement does not. The Third Circuit has
   stated that “a habeas attack on the conditions of confinement” is cognizable “only in extreme
   cases.” See Ali v. Gibson, 572 F.2d 971, 975 n.8 (3d Cir. 1978), superseded by statute on other
   grounds as stated in Callwood v. Enos, 230 F.3d 627, 633 (3d Cir. 2000). As Chief Judge
   Conner of this Court recently noted, “[b]eyond the Third Circuit, a split has developed as to
   whether habeas corpus provides a remedy for a conditions-of-confinement claim that does not
   implicate the fact, duration or execution of the petitioner’s confinement.” See Camacho Lopez
   v. Lowe, No. 3:20-cv-563, 2020 WL 1689874, at *5 (M.D. Pa. Apr. 7, 2020) (citing cases).
   “This divide has been borne out in recent weeks, as courts across the country confront numerous
   habeas petitions citing the threat posed by the COVID-19 viral pandemic as a basis for
   immediate release.” Id. Chief Judge Conner concluded that “certain extraordinary conditions of
   confinement may warrant a habeas remedy.” See id.
           In Camacho-Lopez, Chief Judge Conner concluded that an ICE detainee at PCCF who
   had contracted COVID-19 and claimed that staff at PCCF were unable to provide adequate
   medical care had sufficiently stated “the extreme case in which habeas relief might be available.”
   See id. at *6. He, therefore, permitted the petitioner to proceed via his § 2241 petition. See id.
   This Court has also permitted ICE detainees who sought release based upon an increased risk of
   contracting the COVID-19 virus to pursue habeas relief. See Thakker v. Doll, No. 20-cv-480,
   Doc. No. 47 at 5 (M.D. Pa. Mar. 31, 2020). While Petitioner has not tested positive for COVID-
   19, as noted above, he has been placed in quarantine for “possible” COVID-19 exposure.
   Accordingly, in light of Petitioner’s allegations, as well as the Camacho Lopez and Thakker
   decisions, the Court will assume, for purposes of this Memorandum, that Petitioner may pursue
   his claims via his § 2241 petition.
   3
     The Court recognizes that Petitioner has not explicitly requested injunctive relief in the form of
   immediate release because of the COVID-19 pandemic. In light of Petitioner’s motion to
   expedite and his challenge to his conditions of confinement based upon COVID-19, however, the
   Court concludes that Petitioner’s request for release is similar to those presented in the motions
   for temporary restraining orders presented to this Court in recent cases. See Camacho Lopez,
   2020 WL 1689874, at *6-9; Hope v. Doll, No. 20-cv-562, Doc. No. 11 at 4-15 (M.D. Pa. Apr. 7,
   2020); Thakker, No. 20-cv-480, Doc. No. 47 at 5-25 (M.D. Pa. Mar. 31, 2020). Thus, the Court
   finds it appropriate to discuss the likelihood of Petitioner’s success on the merits of his claim.
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   determining whether such a showing has been made, a court “must examine the legal principles

   controlling the claim and the potential defenses available to the opposing party.” See id. (citing

   BP Chems. Ltd. v. Formosa Chem. & Fibre Corp., 229 F.3d 254, 264 (3d Cir. 2000)).

          In his motion to expedite, Petitioner asserts “that his right to Due Process under the Fifth

   Amendment is being violated due to DHS’s inability to provide reasonable protection for his

   health and safety as a result of his detention in a facility, where at least four detainees under the

   jurisdiction of DHS and four staff members have tested positive for COVID-19, and at least one

   has been hospitalized with serious illness.” (Doc. No. 10 at 2.) The Due Process Clause

   provides that the federal government shall not deprive any person “of life, liberty, or property,

   without due process of law.” See U.S. CONST. amend. V. “Freedom from imprisonment—from

   government custody, detention, or other forms of physical restraint—lies at the heart of the

   liberty that [the Due Process] Clause protects.” Zadvydas, 533 U.S. at 690. “[T]he Due Process

   Clause applies to all persons within the United States, including aliens, whether their presence is

   lawful, unlawful, temporary, or permanent.” Id. at 693. The due process rights of a pretrial

   detainee “are at least as great as the Eighth Amendment protections available to a convicted

   prisoner.” See City of Revere v. Mass. Gen. Hosp., 463 U.S. 239, 244 (1983). Civil

   immigration detainees “are entitled to the same due process protections” as pretrial detainees.

   See E.D. v. Sharkey, 928 F.3d 299, 306-07 (3d Cir. 2019) (citing Charles v. Orange Cty., 925

   F.3d 73 (2d Cir. May 24, 2019); Chavero-Linares v. Smith, 782 F.3d 1038, 1041 (8th Cir. 2015);

   Belbachir v. Cty. of McHenry, 726 F.3d 975, 979 (7th Cir. 2013); Porro v. Barnes, 624 F.3d

   1322, 1326 (10th Cir. 2010); Edwards v. Johnson, 209 F.3d 772, 778 (5th Cir. 2000)).

          Petitioner’s substantive due process claim may be viewed under the theory of deliberate

   indifference to serious medical needs. See Jones v. Wolf, No. 20-cv-361, 2020 WL 1643857, at



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   *3 (W.D.N.Y. Apr. 2, 2020) (addressing an immigration detainee’s substantive due process

   claims pertaining to COVD-19-related risks under theories of deliberate indifference to serious

   medical needs and unconstitutional conditions of confinement). “The Supreme Court has held

   that ‘deliberate indifference to serious medical needs of prisoners constitutes the unnecessary and

   wanton infliction of pain . . . proscribed by the Eighth Amendment.’” Tate v. Wiggins, No. 19-

   1242, 2020 WL 882880, at *2 (3d Cir. 2020) (internal quotations marks omitted) (quoting Estelle

   v. Gamble, 429 U.S. 97, 104 (1976)). Such claims asserted by pretrial detainees are evaluated

   under the same Eighth Amendment standard. See Natale v. Camden Cty. Corr. Facility, 318

   F.3d 575, 581-82 (3d Cir. 2003); see also Bakhtiari v. Madrigal, No. 18-cv-38, 2019 WL

   1531861, at *10 (evaluating such a claim asserted by a civil immigration detainee under the same

   standard). “In order to establish a violation of [a detainee’s] constitutional right to adequate

   medical care, evidence must show (i) a serious medical need, and (ii) acts or omissions by prison

   officials that indicate deliberate indifference to that need.” Natale, 318 F.3d at 582.

          Additionally, Petitioner’s claim may be viewed under the theory of unconstitutional

   conditions of confinement. See Jones, 2020 WL 1643857, at *3 (addressing an immigration

   detainee’s substantive due process claims pertaining to COVD-19-related risks under theories of

   deliberate indifference to serious medical needs and unconstitutional conditions of confinement).

   In evaluating whether a pretrial detainee’s conditions of confinement violate his substantive due

   process rights, “the proper inquiry is whether those conditions amount to punishment of the

   detainee.” See Bell v. Wolfish, 441 U.S. 520, 535 (1979). “To determine whether challenged

   conditions of confinement amount to punishment, [a court must] determine[] whether a condition

   of confinement is reasonably related to a legitimate governmental objective.” Sharkey, 928 F.3d

   at 307 (quoting Hubbard v. Taylor, 538 F.3d 229, 232 (3d Cir. 2008)). If the Court determines



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   that the condition is not so related, it “may infer ‘that the purpose of the governmental action is

   punishment that may not be constitutionally inflicted upon detainees qua detainees.’” See id.

   (quoting Hubbard, 538 F.3d at 232).

           Upon review of the instant petition, the parties’ arguments, and the applicable law, the

   Court finds that Petitioner has not demonstrated an entitlement to relief based on his assertion

   that his health and safety are at risk due to the presence of COVID-19 at PCCF. The Court notes

   that, in his traverse, Petitioner states that: he “is under a doctor’s care for hypertension and high

   cholesterol”; “[h]e has a history of significant bleeding after a recent hip fracture that required

   emergency surgery”; “[d]uring his last doctor’s visit before he was detained, Petitioner’s

   hemoglobin levels were abnormally low, a sign of anemia, which can affect the immune

   system”; and that “[h]is doctor ordered further blood testing, colonoscopy, and upper endoscopy,

   which has not been performed due to his detention.” (Doc. No. 9 at 10.) Respondent has stated,

   however, that “[t]he fact that [it] has taken proactive measures [with respect to COVID-19]—

   such as cohorting and modified lockdowns, social distancing, increased sanitation measures—

   indicates that [it] is not deliberately indifferent to the risk of infection.” (Doc. No. 14 at 22.)

   Respondent adds that although Petitioner has reported respiratory issues and a sore throat, “[h]e

   is being checked at least twice daily and has not exhibited any symptoms that have not been

   treated.” (Id. at 24.) As of April 3, 2020, Petitioner was placed in quarantine for “possible”

   COVID-19 exposure. (Doc. No. 15 at 3.) His medical records indicate that he has not had a

   temperature over 98.9 degrees through April 7, 2020. (Id. at 5-6.) Petitioner will remain in

   quarantine until fourteen (14) days have passed. (Id. at 3.) The Court finds Respondent’s

   representations and exhibits persuasive and sees no reason to question them at this juncture.




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           Moreover, based on the record presently before the Court, the Court cannot conclude that

   Petitioner has demonstrated a deliberate indifference to a serious medical need. See Camacho

   Lopez, 2020 WL 1689874, at *7 (finding that the detainee-petitioner who had tested positive for

   COVID-19 did not demonstrate deliberate indifference where, prior to the detainee’s

   hospitalization, his medical records “establish[ed] that [he] was being regularly monitored and

   appropriately treated”). Additionally, to the extent that Camacho Lopez is distinguishable from

   the instant case because in Camacho Lopez, the petitioner already tested positive for COVID-19

   and had been hospitalized, while Petitioner in this case has not reported a positive test result, the

   Court finds that Petitioner is still not entitled to release based on the potential risk of contracting

   the virus. While the Court is sympathetic to Petitioner’s health-related concerns, the Court must

   conclude that on the basis of the record before it, including Petitioner’s specific medical needs,

   Respondent’s response to those specific medical needs, as well as its response to the presence of

   COVID-19 at PCCF, Petitioner has failed to demonstrate a constitutional violation based on

   deliberate indifference to his medical needs. 4 Accordingly, the Court finds Petitioner’s

   arguments in favor of release to be without merit.

           The Court is mindful that its review raises the specter of disparate results. Like one of

   the petitioners in Thakker, Petitioner is past the age of forty (40), has some recorded history of



   4
     Moreover, the Court notes the Third Circuit’s recent commentary that “the mere existence of
   COVID-19 in society and the possibility that it may spread to a particular prison alone” should
   not be viewed as a reason to order release from custody. See United States v. Raia, No. 20-1033,
   2020 WL 1647922, at *2 (3d Cir. Apr. 2, 2020). While the Court in Raia considered the issue of
   release in the context of a motion for compassionate release by a defendant in a criminal case,
   this Court finds the Third Circuit’s discussion persuasive in the case at bar, especially in light of
   the Court of Appeals’ emphasis on the Bureau of Prisons’ “extensive and professional efforts to
   curtail the virus’s spread.” See id. In a similar vein, as this Court has noted supra, Petitioner’s
   place of detention—PCCF—has taken measures to combat the spread of the virus, specifically
   with regard to Petitioner. Accordingly, the Court finds that this point also warrants the denial of
   Petitioner’s request.
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   treated hypertension, and has a self-reported history of high cholesterol. 5 These conditions may

   place him at a higher risk of experiencing complications should he contract COVID-19. See

   How COVID-19 Spreads, CENTERS FOR DISEASE CONTROL AND PREVENTION,

   https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-covid-spreads.html (last

   accessed Apr. 8, 2020). Though it may seem axiomatic, this fact does not ipso facto dictate

   relief from this Court. The ultimate question before the Court is not whether, on balance,

   Petitioner’s health concerns outweigh the interests of the community in his continued detention.

   Rather, the critical question before this Court is whether Petitioner is entitled to relief under the

   demanding standards of the writ of habeas corpus. To exercise jurisdiction and empower relief,

   it must be clear to this Court that Petitioner has established a constitutional violation through

   deliberate indifference to a serious medical need. Notwithstanding the state of the entire record

   in some other case, under the facts now before this Court, it is not plain that PCCF has

   demonstrated deliberate indifference by failing to take reasonable steps to protect Petitioner from

   COVID-19 or to monitor and treat his medical symptoms. As is clear from the differing results

   in this very district, see Camacho Lopez, 2020 WL 1689874, at *6-9, Thakker, No. 20-cv-480,

   Doc. No. 47 (M.D. Pa. Mar. 31, 2020), habeas review is entirely individual. The success of each

   petition will depend not only on the circumstances of the petitioner before the Court, but also on

   a rapidly changing landscape that includes the state of the COVID-19 pandemic, current

   conditions in ICE facilities, and the evolving response by ICE and facility officials to medical

   needs.




   5
     See Thakker, No. 20-cv-480, Doc. No. 47 at 2-3 (M.D. Pa. Mar. 31, 2020) (noting that some of
   the petitioners experienced the following conditions: leukemia; high blood pressure and
   cholesterol; kidney failure; diabetes; a compromised immune system resulting from a prior
   kidney transplant; and heart issues).
                                                     17
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         Case  1:20-cv-00786-JEB
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          Each individual case requires the careful weighing of the medical needs of the individual

   against the safety of the community and the enforcement of federal laws. That balancing must

   occur not on federal habeas review but in the first instance before the immigration judge. This

   Court trusts that ICE will provide Petitioner the timely bond review to which he is legally and

   ethically entitled. When the immigration judge conducts this review, she will have available

   information that this Court does not, including current conditions at detention centers, such as

   population density, that bears on the risk to detainees, Petitioner’s complete medical records,

   Petitioner’s personal history as it informs the assessment of whether he is a flight risk and a

   danger to the community, and Petitioner’s plan for relocation on release and available assurances

   of reappearance when the pandemic is ended.

   IV.    CONCLUSION

          For the foregoing reasons, Petitioner’s motion to expedite (Doc. No. 10) will be granted

   to the extent that this Memorandum serves as expedited review of Petitioner’s petition for a writ

   of habeas corpus pursuant to 28 U.S.C. § 2241 (Doc. No. 1). The Court, however, will deny

   Petitioner’s petition for a writ of habeas corpus pursuant to 28 U.S.C. § 2241. (Doc. No. 1.)

   This denial, however, will be without prejudice to Petitioner’s right to file a new § 2241 petition

   should he remain detained after he has exhausted his administrate remedies regarding his

   detention. An appropriate Order follows.




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                       RESPONDENTS' EXHIBIT 9
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  1                                  UNITED STATES DISTRICT COURT

  2                                          DISTRICT OF NEVADA

  3       Daniel Masso Ramirez, and Christopher                Case No.: 2:20-cv-00609-JAD-VCF
          Njingu,
  4
                           Petitioner-plaintiffs
  5
          V.                                                 Order Denying Motion for Temporary
  6                                                                  Restraining Order
          Robert Culley, et al.,
  7
                           Respondent-defendants                           [ECF No. 2]
  8

  9

 10 ·           Daniel Masso Ramirez and ChristopherNjingu filed this 28 U.S.C. § 2241 petition to

 11 challenge their detention by Immigration and Customs Enforcement (ICE) at the Henderson

 12 Detention Center (HDC) and seek a temporary restraining order for their immediate release.

 13 They argue that their continued civil detention pending adjudication of their immigration

 14 matters, in light of the global pandemic caused by the COVID-19 virus, violates their due-

 15 process rights. I deny the motion because Njingu has recently been released, making his request

 16 for relief moot, and Ramirez has demonstrated only a speculative risk of harm.

 17                                                Background

 18             Njingu and Ramirez jointly filed this federal habeas petition on March 31, 2020, to

 19 challenge their continued ICE detention at the HDC. 1 Njingu's release 2 moots his request for

 20 relief, so I deny the petition and motion as to Njingu based on mootness, and I evaluate the

 21 merits of the motion only as to Ramirez.

 22 - - - - - - - - - - -
      ] ECFNo. 1.
 23   2
       ECF No. 9 (stipulation in which the parties reported that "Njingu was released on parole from
      ICH detention on April 2, 2020.").
          Case 1:20-cv-00786-JEB
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  1            Ramirez alleges that he is a 45-year-old citizen of Mexico, who suffers from pre-diabetes,

  2 hypertension, and high cholesterol and takes medication to manage these health conditions. 3 He

  3 has been detained by ICE at the HDC since February of this year pending removal proceedings. 4

  4 His detention is based on 8 U.S.C. § 1226(c)(l)(B), which requires the detention of aliens in

  5 removal proceedings based on prior drug convictions. 5       .


  6            Ramirez contends that his health conditions make him particularly vulnerable to severe

  7 illness or death if infected by the COVID-19 virus. He avers generally that the "conditions of

  8 immig;ration detention facilities pose a heightened public health risk for the spread of COVID-

  9 19," elaborating that:

 10                   Individuals in immigration detention are not able to practice the
                      proper social distancing and hygiene required to prevent the
 11                   transmission of this disease. People live in close quarters and are
                      unable to maintain the recommended distance of six feet from
 12                   others. People share and touch objects used by others. Toilets,
                      sinks, and showers are shared, without disinfection between each
 13                   use. Food preparation and service is communal with little
                      opportunity for surface disinfection. Staff arrive and leave on a
 14                   shift basis, with limited ability to adequately screen staff for new,
                      asymptomatic infection. 6
 15

 16 He theorizes that ICE is showing a deliberate indifference to his safety in violation of his Fifth

 17 Amendment right to reasonable safety by continuing to detain him despite his health

 18 vulnerabilities. Ramirez seeks a writ of habeas corpus, or in the alternative, a temporary

 19 restraining order for his "immediate release" from detention. 7

 20

 21   3
          ECFNo.1 at 17.
      4
          ECFNo. 1
 22   5
          ECF No. 14 at 3.
 23   6 ECF   No. 1 at 9.
      7
          ECF No. 1 at 4, 19; ECF No. 2.

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  1                                                Discussion 8

  2             A temporary restraining order is "an extraordinary remedy that may only be awarded

  3 upon a clear showing that the plaintiff is entitled to such relief. " 9 The Supreme Court clarified in

  4 Winter v. Natural Resources Defense Council, Inc. that, to obtain an injunction, the plaintiff

  5 "must establish that he is likely to succeed on the merits, that he is likely to suffer irreparable

  6 injury in the absence of preliminary relief, that the balance of equities tips in his favor, and that

  7 an injunction is in the public interest." 10 The Ninth Circuit also recognizes an additional

  8 standard: "if a plaintiff can only show that there are 'serious questions going to the merits '-a

  9 lesser showing than likelihood of success on the merits-then a preliminary injunction may still

 10 issue if the 'balance of hardships tips shmply in the plaintiff's favor,' and the other two Winter

 11 factors are satisfied." 11 Because I find that Ramirez's motion falters at the first two prongs of the

 12 Winter test, I do not reach the third and fourth prongs.

 13 A.          Ramirez has not shown a likelihood of success on the merits of his claim.

 14             "When the State takes a person into its custody and holds him there against his will, the

 15 Constitution imposes upon it a corresponding duty to assume some responsibility for his safety

 16 - - - - - - - -
    8 I note that a habeas petition may not be the proper vehicle for Ramirez to challenge his
 17 conditions of his confinement because "the writ of habeas corpus is limited to attacks upon the
    legality or duration of confinement." Crav.ford v. Bell, 599 F.2d 890, 891 (9th Cir. 1979); 28
 18 U.S.C. § 2254(a). But other comis that have recently considered substantially similar claims
    have done so within the habeas context. See, e.g., Castillo v. Barr, 2020 WL 1502864 (C.D. Cal.
 19 March 31, 2020); Dawson v. Asher, 2020 WL 1304557 (W.D. Wash. March 19, 2020).
    Respondents raise this concern and also argue that Ramirez lacks Article III standing. Because I
 20 need not address these issues to resolve this motion for temporary restraining order, I leave them
    for future consideration.
 21 9
      Winter v. Nat. Res. Def Council, Inc., 555 U.S. 7, 20 (2008); see also Stormans, Inc. v. Selecky,
 22 586  F.3d 1109, 1127 (9th Cir. 2009).
      10
           Winter, 555 U.S. at 20.
 23   11
         Shell Offshore, Inc. v. Greenpeace, Inc., 709 F.3d 1281, 1291 (9th Cir. 2013) (quotingA!Uanc
      for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011)).

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  1 and general well-being." 12 That duty includes providing custodial detainees with "food,

  2 clothing, shelter, medical care, and reasonable safety." 13 Conditions that pose an unreasonable

  3 risk of future harm violate the Eighth Amendment's prohibition against cruel and unusual

  4 punishment, even if that harm has not yet come to pass. 14 And because Ramirez is a civil

  5 detainee, not a criminal one, 15 the Fifth Amendment's Due Process Clause also guarantees that

  6 he will not be subjected to conditions that amount to punishment. 16

  7             Ramirez points out that the Supreme Court has explicitly recognized that the risk of

  8 contracting a communicable disease may constitute such an "unsafe, life-threatening condition"

  9 that it threatens "reasonable safety." 17 And the High Court noted in Helling v. McKinney that

 10 detainees "need not await a tragic event" before they are entitled to a remedy for unsafe

 11 conditions. 18 But the presence of such an unsafe condition at HDC is speculative at this point.

 12 While Ramirez alleges that individuals housed at HDC have already been exposed to COVID-

 13 19, 19 the declarations that respondents provide with their opposition and answer aver that no

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      12
 15        DeShaney v. Winnebago County Dept. ofSoc. Servs., 489 U.S. 189, 199-200 (1989).
      13
           Id. at 200.
 16   14
      Hellingv. McKinney, 509 U.S. 25, ,33 (1993) (quoting DeShaney, 489 U.S. at 200) (The
    Eighth Amendment requires that "inmates be furnished with the basic human needs, one of
 17 which is 'reasonable safety."').
      15
 18        See Zadvydas v. Davis, 533 U.S. 678,690 (2001).
      16
      See Bell v. Wolfish, 441 U.S. 520,535 n.16 (1979); Kingv. Cty. of L.A., 885 F.3d 548, 556-
 19 557(9thCir.2018).                                                        \
      17
 20        Helling, 509 U.S. 25 at 36.
      18
      See id at 33-35 (citing Gates v. Collier, 501 F.2d 1291 (5th Cir. 1974) and Ramos v. Lamm,
 21 639 F.2d 559, 572 (10th Cir. 1980) (holding that inmates were entitled to relief under the Eighth
    Amendment when they proved threats to personal safety from exposed electrical wiring,
 22 deficient firefighting measures, and the mingling of inmates with serious contagious diseases
    with other prison inmates)); see also Hutto.v. Finney, 437 U.S. 678, 682-83 (1978) (mingling of
 23 inmates with infectious diseases with others).
      19
           ECF No. 2 at 8.

                                                        4
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  1 HDC inmate, detainee, or employee has tested positive for COVID-19. 20 Respondents also set

 · 2 forth with particularity the detailed, preventative protocol that they have instituted to protect

  3 detainees:

  4                a. Employee Self-Check Stations - Before each shift, all HDC employees are
                      required to check their temperature and answer a series of questions
  5                   related to their health, any prolonged contact with others who are
                      symptomatic of COVID-19, and whether the employee has traveled
  6                   outside of the Las Vegas Valley within the last 14 days of their self-check.
                      Depending on the responses to these questions and the employee's
  7                   temperature, the employee may not be permitted to enter the work area
                      and is restricted from physically coming to work.
  8
                   b. Staff Personal Protective Equipment ("PPE")- all HDC staff required to
  9                   interact with inmates/detainees have been equipped with proper PPE,
                      including glasses, N95 masks, gowns, and gloves.
 10
                   c. Inmate/Detainee Pre-screening process - When new inmates/detainees
 11                   arrive at the HDC, a nurse will conduct a pre-screening process at the door
                      of the facility before the new arrivals are permitted to enter. This pre-
 12                   screening process includes a temperature check, asking the new arrival a
                      series of questions related to COVID- i 9, and a determination as to
 13                   whether the new arrival should be quarantined. Asymptomatic arrivals
                      may be quarantined if they have been in contact with others exhibiting
 14                   symptoms consistent with CO VID-19. Once the pre-screening process is
                      completed, new arrivals undergo the HDC's normal medical screening and
 15                   booking process.

 16                d. Cleaning and Sanitation-HDC has implemented daily, increased cleaning
                      of inmate/detainee housing and dayroom areas. HDC has hired a third-
 17                   party bio-hazard cleaning company to clean housing areas that have been
                      utilized by symptomatic quarantined residents.
 18
                   e. Visitation and Programming - The HDC is closed to all visitors. All in-
 19                   person visits, with the exception of attorney visits, have been cancelled.
                      In addition, all programming conducted by volunteers or third parties has
 20                   been cancelled in order to decrease the number of people entering the
                      HDC. Inmates and detainees are still pe1mitted to use telephones and to
 21                   write letters to communicate with family or others outside the facility.

 22                f.   Education - The City of Henderson has provided its employees with
                        various educational materials and resources regarding COVID-19. In turn,
 23
      20
           ECF No. 14 at 3; ECF No. 12 at 4.

                                                        5
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  1                    HDC employees have been educating inmates and detainees about the
                       importance of social distancing in the dayroom as well as proper hygiene
  2                    to help curb the spread of COVID-19.

  3                g. Dayroom time and Meal Service - The HDC has implemented a "split
                      tier" dayroom and meal service schedule to help with social distancing.
  4                   This means that the entire population of a given housing unit will not be
                      able to use the dayroom at the same time. Instead, the inmates and
  5                   detainees will be split into two groups resulting in approximately 50%
                      fewer inmates in the dayroom and at meal service at a time. In addition to
  6                   the split tier schedule, the HDC has instituted the following social
                      distancing parameters:
  7
                              i.      There must be at least one empty phone in between
  8                                   inmates/detainees using the phone bank.

  9                           ii.     Inmates/detainees are not permitted to sit next to one
                                      another at the tables in the dayroom and must be an arms-
 10                                   length away from other inmates/detainees when sitting in
                                      chairs that can be moved around the dayroom.
 11
                             . iii.   Inmates/detainees are expected to maintain six feet of
 12                                   separation between themselves, HDC staff, and medical
                                      personnel.
 13
                   h. Quarantine - HDC, upon recommendation from medical personnel,
 14                   quarantines both symptomatic and asymptomatic inmates/detainees for a
                      minimum of 14 days. Quarantined inmates/detainees are seen twice a day
 15                   by medical personnel and treated and/or monitored depending on
                      symptoms, if any. 21
 16

 17 With no evidence tpat HDC detainees are currently being subject to constitutionally unsafe

 18 conditions, Ramirez has not established a likelihood of succeeding on the merits of his claim.

 19

 20

 21

 22
      21
 23        ECF No. 14 at 3-5; ECF No. 12 (Robinson Deel.) at 2--4.



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  1
      B.        Ramirez has not established that he will suffer irreparable harm absent
  2             immediate release.

  3             Ramirez also has not shown that "irreparable injury is likely in the absence of an

  4 injunction." 22 A mere possibility of harm is insufficient to warrant the extraordinary relief of a

  5 temporary restraining order. 23 Respondents have demonstrated that there is currently no

  6 evidence of a COVID-19 outbreak at the HDC. They have also shown with particularity that

  7 detailed precautionary measures have been put in place to help protect the health and safety of

  8 HDC detainees. So Ramirez has not established that irreparable injury will result absent his

  9 immediate release. Even if Ramirez had shown that unsafe conditions at HDC have risen to the

 10 level of a constitutional violation, he has not demonstrated that the proper remedy for that

 11 violation would be his immediate release. Ramirez tacitly acknowledges this when he states in

 12 his motion that "the only available remedy is to reduce levels of detention unless and unt;/

 13 condihons can be brought in line with constitutional standards." 24

 14

 15

 16

 17   22
           Winter, 555 U.S. at 22 (emphasis in the original).
      23
 18     See id. The COVID-19 global pandemic is undisputedly a grave and dynamic situation, and
      the safety of the public and individuals should be a priority of all sectors of federal, state, and
 19   local government. My ruling here in no way downplays this reality, but the narrow record in this
      case does not support injunctive relief. I also recognize that the Central District of California in
 20   Castillo v. Barr, 2020 WL 1502864, ordered the release of immigration detainees from a facility
      with no confirmed COVID-19 cases. However, the record in Castillo showed that the
 21   Department of Homeland Security's Office of the Inspector General had repeatedly, and as
      recently as 2018, found that' significant and various health and safety risks existed at that
 22   particular immigration detention center; personnel were not using personal protective equipment;
      and no measures had been instituted to prevent a COVID-19 outbreak. Castillo, 2020 WL
 23   1502864, at *1-2. So Castillo is materially distinguishable.
      24
           ECF No. 2 at 17 (emphasis added).

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  1                                         Conclusion

  2         IT IS THEREFORE ORDERED that the motion for temporary restraining order [ECF

  3 No. 2] is DENIED.

  4         IT IS FURTHER ORDERED that the petition is DENIED as moot as to petitioner-

  5 plaintiff Christopher Njingu.

  6         IT IS FURTHER ORDERED that Ramirez has until May 11, 2020, to file his reply in

  7 support of the petition, if any.

  8         Dated: April 9, 2020

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                                                         U.S. District Ju
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